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                                                                              Page 1
 1                UNITED STATES DISTRICT COURT
 2                EASTERN DISTRICT OF NEW YORK
 3                C.A. No. CV-0401945(JBW)(SMG)
 4   *    *   *     *    *    *   *   *   *   *   *   *   *   *
 5   BARBARA SCHWAB, et al, Individually                      *
 6   and on behalf of a class of all                          *
 7   others similarly situated,                               *
 8                     Plaintiffs                             *
 9   v.                                                       *
10   PHILIP MORRIS USA, INC., et al,                          *
11                  Defendants                                *
12   *    *   *    *    *     *   *   *   *   *   *   *   *   *
13                           PAGES 1-328
14            VIDEOTAPED DEPOSITION OF JOHN R.
15     HAUSER, Sc.D., a witness called on behalf of
16     the Defendant R.J. Reynolds Tobacco Company,
17     pursuant to the Federal Rules of Civil
18     Procedure, before Jessica L. Williamson,
19     Registered Merit Reporter, Certified
20     Realtime Reporter and Notary Public in and
21     for the Commonwealth of Massachusetts, at
22     the Offices of Goodwin Procter, LLC, 53
23     State Street, Boston, Massachusetts, on
24     Thursday, March 23, 2006, commencing at
25     10:02 a.m.
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 1              JOHN R. HAUSER, Sc.D.,                1           form.
 2      a witness called on behalf of the Defendant   2        A. Well, I have conducted a study that's
 3      R.J. Reynolds Tobacco Company, having first   3           described in my expert report.
 4      been duly sworn, was deposed and testified    4        Q. You have submitted two expert reports in
 5      as follows:                                   5           this case, one in August and one in
 6                                                    6           December. Are you referring to that --
 7                DIRECT EXAMINATION                  7           you're referring to both in the singular,
 8                                                    8           for all intents and purposes?
 9      BY MR. GROSSMAN:                              9        A. Both of those reports describe the same
10   Q. Dr. Hauser, it's very nice to meet you.      10           study.
11   A. Thank you.                                   11        Q. Do you have any ongoing studies apart from
12   Q. Thank you for coming. I'm going to be        12           the study described in those reports?
13      asking you a number of questions today and   13        A. Should I -- should additional information
14      tomorrow. If there's any question that you   14           become available, I'll certainly analyze
15      don't hear, will you let me know?            15           that information.
16   A. Yes, I will.                                 16        Q. Do you have any ongoing studies currently
17   Q. If there's any question you don't            17           apart from the information described in
18      understand, will you let me know?            18           those reports?
19   A. Yes, I will.                                 19        A. I have conducted one study, and that's
20   Q. Now, your deposition has been taken a number 20           described in the report.
21      of times, I gather?                          21        Q. You've completed one study; is that correct?
22   A. I have had -- I've taken -- I've given       22        A. I have completed one study.
23      testimony in deposition a number of times.   23        Q. Is that your testimony?
24   Q. Have you also testified in court?            24        A. I have completed one study.
25   A. I have testified in court.                   25        Q. You also have a -- you have engaged in the

                                                Page 11                                                  Page 13
 1   Q. How many times have you testified in court?        1      study which you've described as having been
 2   A. Oh, four that I can remember, perhaps more.        2      aborted in the footnote to your December
 3      It's on my curriculum vitae.                       3      report. Apart from that aborted study and
 4   Q. And how many times, approximately, have you        4      the study described in the report, have you
 5      testified at deposition?                           5      conducted any other studies in this case,
 6   A. That's also in my curriculum vitae. I don't        6      completed or otherwise?
 7      recall the exact number.                           7   A. The way you've described the study as
 8   Q. Approximately 20?                                  8      "aborted," I'm not sure that's the adjective
 9   A. It would be in the ballpark of 20, but,            9      to use to describe. In fact, it wasn't a
10      again, without looking at my vitae I've not       10      study, it was just a pilot study. And I'm
11      counted them.                                     11      not relying upon the information from that
12   Q. Are you ready to testify in this case? Have       12      pilot study in my expert report.
13      you prepared all of your testimony for trial      13              MR. GROSSMAN: Move to strike as
14      so far as you can tell?                           14      not responsive.
15              MR. GALLAGHER: Objection to the           15   Q. Have you conducted or are you conducting any
16      form.                                             16      study other than those two, however you
17   A. I am ready to testify in this case. Should        17      describe them, pilot study and the study
18      more information become available, I will         18      listed in your report?
19      actually take a look at that. Should I be         19   A. Do you mean in this case?
20      asked additional questions, I'll take a look      20   Q. In this case.
21      at that.                                          21   A. Okay. In this case I have no additional
22   Q. Have you conducted all studies that you've        22      studies ongoing, but should additional
23      been asked to conduct by plaintiffs'              23      information come to light, I will analyze
24      counsel?                                          24      that information.
25              MR. GALLAGHER: Objection to the           25   Q. Okay. There are none ongoing and there are

                                                                                               4 (Pages 10 to 13)
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                                              Page 18                                                   Page 20
 1   Q.   What is your consulting fee?                   1      percent.
 2   A.  $650 an hour.                                   2   Q. And in the prior year?
 3   Q.   And is that typically billed through AMS?      3   A. I would have to go back and look at the
 4   A.  Not all the time.                               4      details, but it's in the ballpark of 50
 5   Q.   Sometimes you bill directly yourself?          5      percent, maybe slightly higher.
 6   A.  Sometimes I bill it directly. Sometimes I       6   Q. Let me hand you what's been marked for
 7      bill it through other entities.                  7      identification purposes as Hauser Exhibit 2,
 8   Q. What other entities?                             8      which was included as Exhibit A to your
 9   A. Whatever I'm working with at the time.           9      report and is your CV, your academic vitae.
10   Q. Other consulting firms?                         10   A. This is my academic vitae dated as of April
11   A. Sometimes I would bill it through other         11      20, 2005 --
12      consulting firms.                               12   Q. Yes.
13   Q. Do you have any rate other than $650 per        13   A. -- for the record.
14      hour that you charge to corporations or to      14   Q. In reviewing that I did not see any prior
15      counsel in litigation?                          15      work in the cigarette industry. Is it
16   A. Not at the current time.                        16      accurate to say that you have never been a
17   Q. Okay. Approximately what percentage of your     17      consultant in the cigarette industry?
18      time do you devote to teaching and writing      18   A. To the best of my recollection, I have not
19      and research, and academic research?            19      been a consultant for -- with regard to
20   A. Approximately -- well, probably higher than     20      cigarettes.
21      80 percent.                                     21   Q. Have you been a consultant for the beer
22   Q. Approximately what percent of your time do      22      industry at any point?
23      you spend consulting with counsel on            23   A. Yes.
24      litigation?                                     24   Q. Which product?
25   A. Probably 20 percent or less.                    25   A. I am the Kirin professor of marketing at

                                              Page 19                                                   Page 21
 1   Q. And approximately what percent of your time      1      MIT, and in that regard I have visited
 2      do you devote to consulting with                 2      Kirin, which is in Japan, a few times.
 3      corporations?                                    3   Q. Have you consulted with them on the
 4   A. Well, I haven't added everything up, so my       4      marketing of Kirin beer in the United
 5      total consulting is probably about 20            5      States?
 6      percent or less, and that's divided between      6   A. I have been briefed on their activities in
 7      both litigation and non-litigation               7      the United States.
 8      consulting.                                      8               MR. GROSSMAN: Move to strike as
 9   Q. Of your consulting what percentage is            9      non-responsive.
10      litigation consulting and what percentage is    10   Q. Have you consulted with Kirin on the
11      consulting with corporations?                   11      marketing of beer in the United States?
12              MR. GALLAGHER: Objection to the         12               MR. GALLAGHER: I'll object to the
13      form.                                           13      form. I don't know how this is irrelevant
14   A. Of -- would you please reask the question?      14      to -- how this is relevant to the expert
15   Q. Of the time that you spend consulting what      15      opinion that Dr. Hauser's giving in this
16      percentage do you devote to litigation          16      case.
17      consulting?                                     17               MR. GROSSMAN: I would agree with
18   A. Of the percent, that varies year to year.       18      your first comment that I don't know how
19   Q. Well, in the past year, what percentage of      19      it's irrelevant, but I'll continue.
20      your consulting time did you devote to          20   Q. Could you please answer the question?
21      litigation?                                     21   A. As I've stated, I have been briefed by
22              MR. GALLAGHER: Objection to the         22      employees of the Kirin Brewing Company about
23      form.                                           23      their marketing activities in the United
24   A. Oh, it's certainly less than 100 percent,       24      States. I don't know if you would consider
25      and it might be slightly more than 50           25      that consulting or not.

                                                                                              6 (Pages 18 to 21)
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                                               Page 22                                                  Page 24
 1   Q. Has Kirin ever hired you to review the            1      No. 3. And that consists, excuse me, of
 2      market for beer in the United States?             2      pages from the website of Applied Marketing
 3   A. My relationship with the Kirin Brewery            3      Science. If you could take a look at that
 4      Company is that they have donated money to        4      and tell me if you're familiar with it.
 5      MIT, which is actually unrestricted, but I        5          (Witness reviews document.)
 6      do -- many times I've advised theses from         6   A. This appears to be a printout of parts of
 7      their students who have come to MIT for           7      the AMS website. AMS is Applied Marketing
 8      education. Some of these theses have              8      Science, Incorporated. It's dated
 9      analyzed beer markets. Some of them               9      3/21/2006.
10      analyzed other markets that Kirin have been      10   Q. Okay. Thank you. It says on the first page
11      in. Some of them are just general theses.        11      of the printout that you have under "VOC,"
12      I do not know if you would consider that         12      "Order a free copy of the classic article
13      consulting.                                      13      The Voice of the Customer by Abby Griffin
14   Q. Have you ever done any -- conducted any          14      and AMS co-founder and MIT professor John R.
15      study of the market for light beer in the        15      Hauser."
16      United States?                                   16          You are a co-founder of AMS?
17   A. Not that I recall.                               17   A. I am a co-founder of AMS.
18   Q. Have you ever conducted any study of             18   Q. And you are also a senior consultant to AMS?
19      marketing of light beer in the United            19   A. I believe that's the title they've given me.
20      States?                                          20   Q. Do you have an ownership interest in AMS?
21   A. Not that I recall.                               21   A. Yes, I do.
22   Q. Have you ever conducted any study of any         22   Q. What is your ownership interest?
23      product labeled as light in the United           23   A. I don't know the exact numbers, but it's in
24      States?                                          24      the ballpark of 10 percent.
25   A. Yes.                                             25   Q. Has it been 10 percent since the founding?

                                               Page 23                                                  Page 25
 1   Q. What product?                                     1   A. It's been approximately that. As new people
 2   A. In -- you have in front of you a report           2      have come in, they get stock options, and I
 3      which is a study of light cigarettes.             3      haven't tracked it.
 4   Q. Apart from the report that you have               4   Q. In this case when you were engaged to
 5      submitted in this case, have you ever             5      undertake a survey, you conducted that
 6      conducted any study of any product labeled        6      through the auspices of AMS?
 7      as "light" in the United States?                  7             MR. GALLAGHER: Objection to the
 8   A. Apart from the work that I've done in             8      form.
 9      support of litigation in this case, I do not      9   A. Well, employees of AMS were working at my
10      recall any particular studies of products        10      direction.
11      labeled as "light."                              11   Q. Do you have use other consulting companies
12   Q. Okay. So before you were hired by                12      apart from AMS to conduct surveys on your
13      plaintiffs' counsel in this case, you had        13      behalf?
14      never done a study on light cigarettes, you      14             MR. GALLAGHER: Objection to the
15      had never done a study on light beer, and        15      form.
16      you had never done a study on any other          16   A. Well, the question is, are other entity --
17      product labeled as "light" in the United         17      other survey companies involved in studies
18      States; is that correct?                         18      that I conduct?
19   A. To the best of my recollection, I have not       19   Q. No. Do you use companies that provide
20      done any studies that are specifically           20      similar services to AMS when you're engaged
21      designed to study "light," the issue of the      21      by counsel to perform surveys of the kind
22      "light" adjective as described; however,         22      that you were asked to in this case?
23      I've certainly studied many products.            23             MR. GALLAGHER: Objection to the
24   Q. Let me hand you what has been marked for         24      form.
25      identification purposes as Hauser Exhibit        25   A. Well, the survey in this case is very

                                                                                              7 (Pages 22 to 25)
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 1      difference between the mapping from physical     1   Q. Would it surprise you if they did?
 2      characteristics into perceptions and the         2              MR. GALLAGHER: Objection to the
 3      difference from physical characteristics and     3      form.
 4      psychosocial cues into perceptions.              4   A. Conjoint analysis is a well-regarded market
 5   Q. What is the Brunswick lens model?                5      research technique. Coca-Cola is a
 6   A. The Brunswick lens model is a model from         6      marketing company, and if Coca-Cola were to
 7      psychology of the way the consumers form         7      use well-regarded marketing research
 8      their perceptions preferences to make            8      techniques, that would be the normal course
 9      choices.                                         9      of business.
10   Q. And indeed, consumers often will approach a     10   Q. There have been many products for which
11      product with a preconceived view of the --      11      conjoint analysis was used that have failed
12      of preferences; is that correct?                12      in the marketplace; is that correct?
13             MR. GALLAGHER: Objection to the          13   A. The purpose of conjoint analysis is to
14      form.                                           14      understand consumer preferences, and it may
15   A. I -- what do you mean by pre --                 15      be that the conjoint analysis is accurate
16   Q. Well, I will rephrase the question.             16      and confirmed the product is launched
17          Are you familiar with any marketing         17      anyhow.
18      studies of Coke and Pepsi?                      18              MR. GROSSMAN: Move to strike as
19   A. I have read about various studies with          19      non-responsive.
20      respect to Coke and Pepsi.                      20   Q. There have been many products for which
21   Q. In fact, there are studies that show that       21      conjoint analysis has been used that have
22      you can -- that brand loyalty is so great       22      failed in the marketplace; isn't that
23      with Coke and Pepsi that you may not be able    23      correct?
24      to give away the competing product to those     24              MR. GALLAGHER: Answer as you
25      people who drink -- I'll rephrase the           25      believe appropriate, Dr. Hauser.

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 1      question.                                        1   A. I do not know that for sure.
 2          The brand loyalty is so great with           2   Q. But you have no reason to believe otherwise?
 3      Coke and Pepsi that there are studies            3             MR. GALLAGHER: Objection to the
 4      showing that you can't give Pepsi to people      4      form.
 5      who feel a strong attachment to Coke and you     5   Q. Is that correct?
 6      can't give Coke even for free to people who      6   A. You're making a statement that I have no way
 7      feel a strong attachment to Pepsi; is that       7      of verifying.
 8      correct?                                         8   Q. Dr. Hauser, we've discussed products with
 9             MR. GALLAGHER: Objection to the           9      the modifier "light." Have you ever done a
10      form.                                           10      study of any product that had the modifier
11   A. I don't recall seeing those studies.            11      "low fat"?
12   Q. Have you seen studies on brand loyalty of       12   A. I have been involved peripherally in many
13      Coke and Pepsi drinkers?                        13      studies; however, I do not recall -- I do
14   A. I have seen studies and have actually heard     14      not recall any specific study with regard to
15      about studies with respect to Coke and taste    15      low fat.
16      tests and Pepsi and taste tests.                16   Q. Okay. As we sit here today, you do not
17   Q. And have -- what's the scope of those           17      recall any study that you have ever been
18      studies, and what did they find?                18      involved in that considered products that
19   A. I do recall speaking to someone at Coca-Cola    19      were designated by their manufacturers or
20      about some of the taste test studies that       20      distributors as low fat; is that correct?
21      they had done prior to the launch of what at    21             MR. GALLAGHER: Objection to the
22      the time was called New Coke.                   22      form.
23   Q. Did they conduct any conjoint analysis with     23   A. I do not recall any products that were
24      regard to New Coke?                             24      designated as low fat.
25   A. I do not know.                                  25   Q. As we sit here today, do you recall having

                                                                                           11 (Pages 38 to 41)
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 1      ever worked on the study of any product          1            MR. GALLAGHER: Objection to the
 2      designated by its manufacturer or marketer       2      form.
 3      as low tar?                                      3   A. I do not recall the specific designation of
 4   A. Yes.                                             4      the specific words.
 5   Q. Apart from your work on behalf of                5   Q. Okay. Now, Doctor, in your CV you list a
 6      plaintiffs' counsel in this case, as we sit      6      number of publications, including
 7      here today, do you recall having worked on       7      publications in periodical literature, peer-
 8      any study involving any product that was         8      reviewed periodical literature. You're not
 9      designated by its manufacturer or marketer       9      always the first listed author, correct?
10      as low tar?                                     10   A. Sometimes I'm not the first listed author,
11              MR. GALLAGHER: Objection to the         11      yes.
12      form.                                           12   Q. Regardless of whether you're the first
13   A. I have conducted studies in this case that      13      listed author, the last listed author or
14      would relate to products that might be          14      somewhere in between, you always read the
15      designated as low tar. Outside of this case     15      article before it's submitted for
16      and beyond that, I do not recall of any         16      publication; is that correct?
17      products that I've studied that have been       17   A. Yes, I do.
18      designated as low tar which I've done any       18   Q. And you always agree with the article before
19      formal market research.                         19      it's submitted for publication; is that
20   Q. Have you ever done any formal market            20      correct?
21      research on any product that was designated     21   A. If it's listed in my CV, yes.
22      by its manufacturer or marketer as magna or     22   Q. If you're listed as the author; is that
23      super size or anything else relating to the     23      correct?
24      size or intensity of the product?               24   A. If I'm listed as the author.
25              MR. GALLAGHER: Objection to the         25   Q. Now, in this case AMS engaged Greenfield

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 1      form.                                            1      Online to conduct a survey; is that correct?
 2   A. I have done studies relating to the size of      2   A. No.
 3      the product.                                     3   Q. Did Greenfield Online work with AMS in this
 4             MR. GALLAGHER: I'm sorry, size of         4      case?
 5      what?                                            5   A. Greenfield worked with AMS on this case.
 6             THE WITNESS: The size of the              6   Q. In what capacity?
 7      product.                                         7   A. Greenfield provided access to their panel.
 8   Q. It may be that my question wasn't easily         8   Q. Access to their panel --
 9      understood. Some products -- just as some        9   A. Their panel of consumers.
10      products are called light, some products are    10   Q. And the panel of consumers is on the
11      called super size or the equivalent, like       11      Internet; is that correct?
12      very large soft drinks at the 7-Eleven. Are     12   A. They have an Internet-based panel.
13      you familiar with such marketing --             13   Q. And by what means did Greenfield provide
14             MR. GALLAGHER: Objection to the          14      access to the Internet-based panel that they
15      form.                                           15      had?
16   Q. -- names?                                       16   A. Well, this is a fairly complex procedure
17   A. I am familiar with the term "super sized."      17      that's described fully in my report.
18   Q. Have you ever done any work with regard to a    18   Q. In providing access to its panel, was
19      product that was called super sized?            19      Greenfield involved at all in the
20   A. I have done work in market research where       20      communication with panel members?
21      products that were super sized, in your         21             MR. GALLAGHER: Objection to the
22      words, super sized, I mean, large, were         22      form.
23      involved.                                       23   A. Greenfield sent out an e-mail at my
24   Q. Were they designated as super sized by their    24      direction.
25      manufacturer?                                   25   Q. Did you draft the e-mail?

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 1   A. I approved the e-mail. It's a fairly              1      national data on Census region, sex, age,
 2      standard e-mail that Greenfield does send         2      and household income"?
 3      out to their panel members.                       3   A. Yes.
 4   Q. After drafting that e-mail, did Greenfield        4   Q. What is a census region?
 5      do anything else in work on the survey that       5   A. A census region is a subset of the United
 6      you reported on in this case?                     6      States defined by the U.S. Census Bureau.
 7   A. Well, Greenfield implemented the sampling         7   Q. A census region is a regional as opposed to
 8      procedure that I set out.                         8      demograph -- a census region refers to a
 9   Q. And did they do anything else?                    9      physical region; is that correct?
10   A. That's fully described in my report.             10   A. Yes, it does.
11   Q. Did they do anything else?                       11   Q. How many census regions are there?
12   A. I have described in my report Greenfield's       12   A. Depends upon how they're aggregated.
13      role in this, and I've just testified as to      13   Q. How did you aggregate it?
14      what they have done.                             14            MR. GALLAGHER: Objection to the
15   Q. Do you recall them doing anything else apart     15      form.
16      from what you say you described in your          16   A. That's described in this report.
17      report?                                          17   Q. Where?
18   A. Well, as described in my report, they            18   A. In the next sentence.
19      provided the sample. They, of course, sent       19   Q. Four census regions, what were the four
20      out that sample to -- that e-mail to the         20      census regions?
21      respondents for them to come in to our           21   A. That's described in one of the exhibits, and
22      server, and they implemented the sampling        22      they were chosen to be collectively
23      plan that I've described. This is done           23      exhaustive and mutually exclusive.
24      electronically.                                  24   Q. Apart from dividing the country into four
25          Now, obviously Greenfield contacts           25      regions, the usual division of gender into

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 1      their respondents for other studies to            1      two parts, age which was divided into three
 2      recruit them in other things.                     2      segments; is that correct?
 3   Q. Could you turn with me to your expert             3   A. Age was divided into three segments.
 4      report, which was previously marked as            4   Q. And household income was divided into three
 5      Exhibit No. 1, Page 12. Paragraph 24 you          5      segments; is that correct?
 6      say, "For this survey, potential respondents      6   A. Yes.
 7      were selected at random from Greenfield           7   Q. There were no other divisions of the
 8      Online's database and sent an invitation to       8      respondents for the sample; is that correct?
 9      go to a special website to complete the           9             MR. GALLAGHER: Objection to the
10      survey."                                         10      form.
11          How do you know they were selected at        11   A. We were attempting to get a nationally
12      random?                                          12      representative sample, as I've indicated,
13   A. We instructed Greenfield Online to select        13      representative and which we divided into 72
14      them at random based upon the sampling           14      total subsets of that which are proportional
15      procedure.                                       15      to sex, age, household income and region, as
16   Q. And what was the sampling procedure?             16      indicated in the report.
17   A. Well, this is described fully in my report.      17             MR. GROSSMAN: Move to strike as
18      If you would like, we can go over it.            18      non-responsive.
19   Q. Where in your report are you referring to?       19   Q. There were four regions you said, there were
20   A. There are many places -- there may be other      20      two sexes, there were three age groups, and
21      places in the report, but, for example,          21      there were three categories of household
22      Paragraph 26.                                    22      income. Apart from those four criteria, you
23   Q. And in that you say, "To assure a nationally     23      have no other demographic information about
24      representative sample of respondents, quotas     24      any of the respondents; is that correct?
25      were set so the sample would match the           25   A. I used -- as is a very acceptable method to

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 1      obtain a representative sample, I divided        1      American.
 2      the sample into 72 regions and then put the      2   Q. What percentage of African American smokers
 3      quota sampling within that. I believe that       3      smoke Newport?
 4      that was fully adequate to provide a             4   A. I do not know, sitting here today, what
 5      representative sample.                           5      percentage of African American smokers smoke
 6             MR. GROSSMAN: Move to strike as           6      Newport.
 7      non-responsive.                                  7   Q. What percentage of Hispanic smokers smoke
 8   Q. Will you please answer the question?             8      Newport?
 9             MR. GALLAGHER: Objection, asked           9   A. I do not know, sitting here today, what
10      and answered. If you have anything to add,      10      percentage of Hispanic smokers smoke
11      you can do so, Dr. Hauser.                      11      Newport.
12   Q. Doctor, did you have -- did you -- I'm not      12   Q. Did you ever know?
13      asking you whether you thought it was           13   A. I do not recall if I knew what percentage of
14      adequate. Do you understand?                    14      Hispanic smokers were smokers of Newport.
15             MR. GALLAGHER: Objection.                15   Q. Do you know or did you ever know what
16   Q. I'm asking you whether you had any criteria     16      percentage of Newport smokers are Hispanic?
17      other than the four census regions, the two     17   A. I believe you've asked that question
18      sexes, the three age groups and the three       18      already.
19      household income segments that you had          19   Q. No, I didn't. I asked you --
20      demographic information on about the            20   A. Will you read the record --
21      respondents to the survey. The answer is        21   Q. I asked you what percentage of Hispanic
22      yes or no. What is the answer?                  22      smokers smoked Newport. Now I'm asking you
23             MR. GALLAGHER: Objection to the          23      what percentage of Newport smokers are
24      form. Doctor, if you can't answer it yes or     24      Hispanic?
25      no, answer it how you think is appropriate.     25   A. Oh.

                                              Page 51                                                  Page 53
 1   A. We have other information about these            1   Q.   Do you understand the difference?
 2      respondents.                                     2   A.  I thought you asked both of those questions.
 3   Q. What other information about the respondents     3   Q.   No, I didn't.
 4      do you have?                                     4   A.  Okay. Would you please reask that?
 5   A. For example, we know whether or not they         5   Q.   What percentage of Newport smokers are
 6      were light smokers -- light cigarette            6      Hispanic?
 7      smokers.                                         7   A. I do not know, sitting here today, what
 8   Q. Did you have any other demographic               8      percentage of Newport smokers are Hispanic.
 9      information about them?                          9   Q. What percentage of cigarettes marketed in
10   A. I'm trying to recall if we collected any        10      the United States carry the word "light"
11      additional information. I did not feel it       11      unmodified by the word "ultra" or any other
12      was necessary to use any additional             12      modifier such as "super"?
13      information in the selection of a               13   A. My survey, as is indicated, is basically
14      representative sample.                          14      targeted towards light smokers, and we
15   Q. What percentage of the Newport smokers are      15      selected a randomly -- sorry, a
16      black?                                          16      representative sample to obtain light
17             MR. GALLAGHER: Objection to the          17      smokers. There is no reason for me to know,
18      form. Do you mean African American?             18      although I might be able to back it out of
19             MR. GROSSMAN: Yes.                       19      the data, what percent of that sample are
20   A. Okay. I do not know, sitting here today,        20      light smokers.
21      how many Newport smokers are African            21              MR. GROSSMAN: Move to strike as
22      American.                                       22      not responsive.
23   Q. Did you ever know?                              23   Q. Do you know what percentage of the market of
24   A. I did not -- I do not recall knowing what       24      cigarettes sold in the United States today
25      percentage of Newport smokers are African       25      involve cigarettes that are designated

                                                                                            14 (Pages 50 to 53)
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                                              Page 58                                                  Page 60
 1      Exhibit 4. This is the chart of the "Top 50      1   Q. Doctor, let me hand you what's been marked
 2      Brand/Styles based on MSA data - 2002." Do       2      for identification purposes as Hauser
 3      you see that?                                    3      Exhibit No. 5.
 4   A. I see Exhibit 4, yes.                            4           (Discussion off the record.)
 5   Q. Do you know what the MSA is?                     5              MR. GALLAGHER: And is this
 6   A. MSA. Could you give me what it stands for?       6      document intended to be incomplete? Because
 7   Q. Do you know -- have you ever heard the term      7      it is.
 8      "MSA"?                                           8              MR. GROSSMAN: It is incomplete,
 9   A. I've heard the term "MSA" quite often, but I     9      and I just pointed that out to my colleague.
10      don't know what it means in this context.       10      We're going to get a complete one.
11   Q. I show you the agreement reached between the    11              MR. GALLAGHER: Okay. Great.
12      cigarette companies and 46 states in            12      Thank you.
13      approximately 1997 settling cases that were     13              MR. GROSSMAN: Let's mark this as
14      brought by those states.                        14      Exhibit 6.
15             MR. GALLAGHER: It was 1998.              15              (Exhibit No. 6, FTC document headed
16             MR. GROSSMAN: 1998, thank you.           16      "'Tar,' Nicotine, and Carbon Monoxide of the
17   A. I have general lay knowledge that there was     17      Smoke of 1294 Varieties of Domestic
18      some cigarette settlement.                      18      Cigarettes for the Year 1998," Issued 2000,
19             MR. GALLAGHER: Can I ask you what        19      marked for identification.)
20      the source of this document is, please?         20   Q. Dr. Hauser, I've just handed you what's been
21             MR. GROSSMAN: As we sit here, I          21      marked for identification purposes as Harris
22      don't know.                                     22      Exhibit 6 --
23             MR. GALLAGHER: You don't know            23              MR. GALLAGHER: No, Hauser.
24      whether it's an FTC report or...                24   Q. I'm sorry, Hauser Exhibit No. 6, which is a
25             MR. GROSSMAN: I do not know. I           25      copy -- a complete copy of the Federal Trade

                                              Page 59                                                  Page 61
 1      will give him an FTC report next.                1      Commission's report --
 2      BY MR. GROSSMAN:                                 2   A. This document.
 3   Q. Doctor, do you see "Total US" and then there     3   Q. Yes.
 4      are -- it says "Marlboro Lights LT 85 BX,"       4           -- "'Tar," Nicotine and Carbon
 5      market share below that, it says "Marlboro       5      Monoxide of the Smoke of 1294 Varieties of
 6      FF"?                                             6      Domestic Cigarettes For the Year 1998,"
 7              MR. GALLAGHER: I'll object to the        7      issued in 2000. Have you ever seen this
 8      form since we don't know the source of the       8      document before?
 9      document, but you can answer, Doctor.            9   A. This is the first time that I have seen this
10              MR. GROSSMAN: That's fine.              10      document.
11   A. You're asking me whether I can read those       11   Q. All right. Could you turn with me after the
12      words, yes, I can.                              12      initial pages, pages marked at the bottom
13   Q. Do you know what the FF stands for?             13      through Page 11, and then following that
14   A. You're asking -- are you asking me to           14      there are pages marked at the top beginning
15      speculate?                                      15      at Page 1. Do you see that, in the upper
16   Q. No, I'm not asking you to speculate.            16      right-hand corner?
17   A. I --                                            17   A. Okay. Page 1 marked at the top. "Page"
18   Q. Without speculation you do not know?            18      appears to be in italics.
19   A. Without speculation I do not know what the      19   Q. Okay.
20      abbreviation FF means on this document that     20   A. Okay.
21      I've been given.                                21   Q. Do you see the FTC lists "Brand Name," then
22              MR. GROSSMAN: Let's mark this as        22      "Description," "Tar," "Nicotine," "CO" in
23      5.                                              23      the right-hand corner?
24              (Exhibit No. 5, Document later          24               MR. GALLAGHER: I'm sorry, we're on
25      withdrawn, marked for identification.)          25      Page 1 of the attachment?

                                                                                            16 (Pages 58 to 61)
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                                                Page 62                                                  Page 64
 1               MR. GROSSMAN: Yes.                        1      that you have stated is from the Federal
 2    Q. Do you see that?                                  2      Trade Commission, and for the purposes of
 3    A. I see "Tar," I see "Nic," which you're            3      testimony I'm willing to accept that this is
 4       telling me -- I can assume is nicotine, and       4      from the Federal Trade Commission.
 5       "CO," which I can assume is carbon dioxide.       5   Q. Okay. Thank you very much.
 6    Q. Carbon monoxide.                                  6   A. I notice there is ultra LT, which I presume
 7    A. I'm sorry, carbon monoxide.                       7      is light.
 8    Q. Okay. Looking down at the "All American           8   Q. Ultra light you mean?
 9       Value," third cigarette, do you see --            9   A. What?
10    A. Third cigarette, yes.                            10   Q. Ultra --
11    Q. You see it says "Description, 100"? Do you       11   A. LT.
12       know what that refers to?                        12   Q. -- LT you presume it's ultra light?
13    A. I can speculate.                                 13   A. I presume it's ultra light. I'm
14    Q. Well, what do you think it refers to?            14      speculating, of course. FF which appears to
15    A. I can speculate that it's 100 -- is it           15      be, as you have implied, and, again, it's
16       millimeters or --                                16      speculation, is full-flavored, and LT, which
17    Q. Millimeters, yes.                                17      I am presuming also to be light, and then
18    A. -- centimeters or --                             18      there is some blank.
19    Q. Millimeters --                                   19           So it appears that this document has
20    A. Centimeters would be pretty long.                20      provided one possible characterization for
21       Millimeters.                                     21      attributes, scientific physical attributes,
22    Q. 100 millimeters refers to the length. Then       22      that might be attributed to this, and that
23       it says "F."                                     23      is certainly true as a tautology. If this
24    A. So 10 centimeters.                               24      is the Federal Trade Commission and they've
25    Q. Then it says "F"?                                25      provided this table, then presumably they

                                                Page 63                                                  Page 65
 1    A.  Yeah, it says "F."                               1      have provided those labels.
 2    Q.  Do you know what that stands for?                2   Q. Do you know whether the FTC has a test for
 3    A.  No, I do not know what the F stands for.         3      tar and nicotine?
 4    Q.  And then it says "SP." Do you know what          4   A. I have been informed by counsel that there
 5       that stands for?                                  5      is a test for tar and nicotine.
 6    A. I do not know what the SP stands for.             6   Q. Prior to being informed by counsel did you
 7    Q. Okay. And then it says "FF." Do you               7      know whether there was a test for tar and
 8       understand what that stands for?                  8      nicotine by the FTC?
 9    A. I thought we were looking at the third "All       9   A. I did not know what tests were used for tar
10       American Value."                                 10      and nicotine in cigarettes prior to being
11    Q. No, the third cigarette.                         11      informed by counsel.
12    A. Oh, the third cigarette, okay. Yes, I see        12   Q. Have you ever smoked?
13       the FF.                                          13   A. Not in any regular situation.
14    Q. Do you know what that stands for?                14   Q. Have you ever conducted a study or survey of
15    A. Do you want me to speculate?                     15      cigarette advertising as part of your work
16    Q. No, I don't. Is it your understanding that       16      in this case or otherwise?
17       the Federal Trade Commission divides             17   A. I have not conducted a specific study of
18       cigarettes into those that are full-             18      cigarette advertising.
19       flavored, those that are light, those that       19   Q. Do you know whether cigarette advertising
20       are ultra light?                                 20      contains tar and nicotine numbers?
21              MR. GALLAGHER: Objection to the           21   A. Do you mean at the present --
22       form, lack of foundation.                        22             MR. GALLAGHER: Hold on. Are you
23    Q. Is it your understanding that the Federal        23      done with your question?
24       Trade Commission does that?                      24             MR. GROSSMAN: No. I'll rephrase
25    A. You have provided me with a document here        25      the question.

                                                                                              17 (Pages 62 to 65)
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                                               Page 78                                                  Page 80
 1    Q. I'll restate the question. Could you give        1      industry, other than in this case.
 2       me the name -- and I presume that the name       2   Q. Okay. Do they work at AMS?
 3       of the person is not a scientific procedure.     3   A. Both Mr. Gaskin and Ms. Schussheim do work
 4       Could you give me the name of the person or      4      at Applied Marketing Science.
 5       persons who wrote the first draft of the         5   Q. Were you involved in hiring them at Applied
 6       questionnaire that was used to form the          6      Marketing Science?
 7       basis of your opinion in this case?              7   A. I am a senior consultant to Applied
 8              MR. GALLAGHER: Objection to the           8      Marketing Science. As a result, I am
 9       form.                                            9      sometimes asked by the president to advise
10    A. You are asking a question that implies that     10      him, but those decisions are made by the
11       there is, in essence, a first draft that is     11      professional staff at Applied Marketing
12       simply modified. I -- as I've written, as       12      Science.
13       I've taught and as I've done in this case,      13   Q. Were you in any way involved in the
14       we talk to consumers. We understand what        14      interview or hiring in any way of Mr. Gaskin
15       those consumers may say. Based upon that,       15      or Ms. Schussheim at AMS?
16       then as a team we capture our understanding     16   A. The pronunciation is Schussheim.
17       of the consumers and write questions.           17   Q. Answer the question.
18           I was involved in that procedure, so I      18   A. Mr. Gaskin was my student, and I certainly
19       was involved in the -- in what you are          19      was asked if -- I believe I was asked by the
20       characterizing as a first draft, and I do       20      president whether or not Steve Gaskin would
21       not want to characterize it as a procedure      21      be a good employee, and at that time I
22       by which there is a draft, then another         22      certainly would have given him the highest
23       draft, then another draft.                      23      of praise. He's highly qualified and very
24    Q. Who else was involved in the procedure?         24      experienced in the market research industry.
25    A. Now you've asked a question that I can          25      I do not recall whether or not I was

                                               Page 79                                                  Page 81
 1       answer. If you had asked that question in        1      involved in the hiring of Ms. Schussheim,
 2       the first place, I could have answered it        2      but she is also a very experienced person,
 3       quite simply.                                    3      and I've worked with her for a number of
 4    Q. Who was involved in the procedure?               4      years.
 5    A. As I've indicated -- well, I don't know if       5   Q. Have you ever seen the resume or
 6       I've indicated in the report, but Mr. Steven     6      professional CV of either of them?
 7       Gaskin and Ms. Shelly Schussheim, and I will     7   A. I believe I have seen various documents that
 8       spell this for the court reporter either now     8      might be considered the equivalent of CVs or
 9       or later, at your --                             9      resumes for Mr. Gaskin. It is certainly
10    Q. Later.                                          10      possible that I would have reviewed various
11    A. Later.                                          11      qualifications of Ms. Schussheim.
12    Q. We're not going to use time for that.           12   Q. To your memory, have you ever seen any
13    A. Okay. They were involved in carrying out,       13      reference in the CV or other background of
14       at my direction, qualitative interviews.        14      either Mr. Gaskin or Ms. Schussheim to work
15    Q. To your knowledge, has either Mr. Gaskin or     15      for or about the cigarette industry?
16       Ms. Schussheim ever been involved in the        16   A. I do not recall if I have seen any reference
17       cigarette industry?                             17      in the documents that I've seen that would
18    A. I do not know their complete backgrounds and    18      be equivalent to CVs or resumes that
19       all of the clients they have worked with.       19      indicated the full set of clients for whom
20    Q. To your knowledge, have they ever been          20      they have worked.
21       involved in the cigarette industry?             21   Q. Okay. Now, what is a regular cigarette?
22               MR. GALLAGHER: Objection to the         22   A. Excuse me. Could you please reask that?
23       form, lack of foundation.                       23   Q. Yes. What is a regular cigarette?
24    A. I do not know whether or not they have done     24             MR. GALLAGHER: Objection to the
25       any work for clients in the cigarette           25      form.

                                                                                             21 (Pages 78 to 81)
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                                               Page 82                                                  Page 84
 1    A. What I do understand is that the consumers       1      indicated in the survey, is that which the
 2       that we talked to have in mind a fairly          2      consumers understand is a regular cigarette.
 3       clean definition of what a regular cigarette     3   Q. Well, you're giving an opinion based upon a
 4       is.                                              4      survey in which you used the term "regular
 5    Q. Could you point me to any note of any            5      cigarette." What is your understanding of
 6       discussion with any consumer in which you        6      that term which forms a basis of the opinion
 7       define the term or they use the term             7      that you're giving in this case?
 8       "regular cigarette"?                             8             MR. GALLAGHER: Same objection.
 9              MR. GALLAGHER: Objection to the           9   A. There were pre -- prior pretests and
10       form.                                           10      qualitative interviews that were both done
11    A. You have been provided the documents that       11      in which, at my direction, Mr. Gaskin and
12       include the survey that we undertook. I did     12      Ms. Schussheim talked to consumers, and part
13       not --                                          13      of those pretests asked them for their
14    Q. And the pretests.                               14      understanding when provided with the survey,
15    A. What?                                           15      and also in the qualitative research these
16    Q. And the pretests.                               16      consumers understood the meaning of regular
17    A. And the pretests. And I do not recall all       17      cigarettes and they could make the
18       the wording that we used in those surveys.      18      distinction between a regular cigarette and
19       Even though I reviewed them recently, you       19      a light cigarette.
20       know, I don't memorize all the wording.         20   Q. Do you know whether the term "regular
21       Certainly it's the wording that the             21      cigarette" is a term that is used in
22       consumers understood, and I believe that we     22      cigarette advertising?
23       used the word "regular" in those surveys.       23             MR. GALLAGHER: Objection to the
24    Q. What is your understanding of what a regular    24      form.
25       cigarette is?                                   25   A. As I've indicated before, I have not done a

                                               Page 83                                                  Page 85
 1             MR. GALLAGHER: Objection to the         1         systematic study of the advertising in the
 2       form.                                         2         cigarette industry.
 3    A. I'm providing an expert opinion here on the   3      Q. So the answer is you don't know whether the
 4       market research. As part of that expert       4         term "regular" has been used in cigarette
 5       opinion, as I've indicated in my writings     5         advertising to describe a type of cigarette?
 6       and in my lectures, it's very important to    6      A. I have not done a systematic study, and I
 7       make sure that the customers and the          7         obviously have been -- I've seen cigarette
 8       consumers that we're surveying understand     8         advertisements, and so you're now asking me
 9       these issues.                                 9         a memory test, have I ever seen or recall
10             MR. GROSSMAN: Move to strike as        10         having seen the "regular" -- the word
11       non-responsive.                              11         "regular" in some of these cigarette
12    Q. Please answer the question.                  12         advertisements?
13             MR. GALLAGHER: Objection to the        13      Q. Everything in this deposition I guess is a
14       form, asked and answered.                    14         memory test, Doctor, and I'm asking you
15    A. I am not here to --                          15         whether you recall ever having seen the term
16    Q. What is your understanding of what a regular 16         "regular" in cigarette advertising, yes or
17       cigarette is?                                17         no?
18             MR. GALLAGHER: Same objection.         18                MR. GALLAGHER: Objection to the
19    A. My understanding of a regular cigarette, as  19         form. Objection to the preamble. Objection
20       used in the survey, is that which the        20         to asked and answered. And you can answer
21       consumers understand is a regular cigarette. 21         it any way you want. You don't have to
22    Q. And what is that?                            22         confine yourself to yes or no if you can
23             MR. GALLAGHER: Objection to the        23         give a more complete answer.
24       form.                                        24      A. I -- well, I did want to say that I do not
25    A. My understanding of a regular cigarette, as  25         agree with the preamble, and once we got

                                                                                             22 (Pages 82 to 85)
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                                                 Page 86                                                  Page 88
 1       past the preamble I realized I didn't              1   Q. Okay. Do you know what that "regular" as
 2       disagree with it, and so if you would like         2      used by the FTC refers to?
 3       to reask the question, I would be happy to         3             MR. GALLAGHER: Objection to the
 4       try and answer it.                                 4      form.
 5    Q. You still haven't answered my question. As         5   A. "Regular" is the second column in this table
 6       we sit here today, can you recall the word         6      on Page 1.
 7       "regular cigarette" -- the term "regular           7   Q. And do you know to what it refers?
 8       cigarette" being used in cigarette                 8   A. It appears to be the manner in which the FTC
 9       advertising?                                       9      has decided to classify cigarettes.
10    A. As I've indicated before, I have not done a       10   Q. And do you know to what it refers in the
11       systematic study of all the advertising that      11      FTC's classification?
12       the cigarette industry has used either in         12             MR. GALLAGHER: Objection to the
13       the last year or in the last many years. I        13      form.
14       have certainly seen cigarette advertising.        14   A. It appears to be a taxonomy that the FTC has
15       As I sit here today, I do not recall all the      15      put together, as indicated in this report.
16       words that were used in cigarette                 16      As I have testified before, we, in fact, are
17       advertising.                                      17      more concerned with how the consumers
18    Q. I'm not asking you about all the words. I'm       18      perceive this and whether or not the con --
19       asking you about "regular."                       19      the FTC taxonomy is based upon consumer
20    A. You're asking me to remember whether a            20      perception I do not know, sitting here
21       specific word was used.                           21      today.
22    Q. Yes.                                              22   Q. Doctor, do you know what the difference
23    A. As I've indicated today, I do not recall all      23      between a light and an ultra light cigarette
24       of the words, and therefore I do not recall       24      is?
25       that specific word.                               25             MR. GALLAGHER: Objection to the

                                                 Page 87                                                  Page 89
 1    Q. Okay.                                              1      form.
 2    A. You're asking me whether or not I have a           2   A. We have now gone through this with respect
 3       memory of that, and I'm saying that this is        3      to regular cigarettes. Is it your intention
 4       not -- I do not believe it's a memory test,        4      to go through this now with respect to all
 5       nor am I providing any expert opinion with         5      designations on Page 1?
 6       respect to advertising.                            6             MR. GALLAGHER: Doctor, go ahead
 7    Q. Okay. Do you know if the term "regular             7      and answer.
 8       cigarette" is used by the FTC?                     8             THE WITNESS: Okay.
 9              MR. GALLAGHER: Objection to the             9             MR. GALLAGHER: Answer his
10       form.                                             10      question. I know it has nothing to do with
11    A. Earlier in this deposition you provided me        11      your expert opinion in this case, but if
12       with Exhibit No. 6 --                             12      they're going to utilize their time in this
13    Q. Which you had never seen before, correct?         13      way, go ahead and answer it if you can.
14              MR. GALLAGHER: I'm sorry, please           14             THE WITNESS: Okay.
15       don't interject --                                15   A. Once again, I am confident that the
16              MR. GROSSMAN: I'm sorry.                   16      consumers understood the difference from the
17              MR. GALLAGHER: -- on his answer.           17      pretests, and I'm providing expert opinion
18    A. Which you indicated to me and I accept as         18      with respect to how consumers perceive the
19       provided by the regular -- by the Federal         19      word. I am not providing my own particular
20       Trade Commission. In this report on Page 1        20      image of what an ultra light or a light
21       is the word, or partial word, R-E-G which we      21      cigarette is.
22       have agreed that probably means regular.          22   Q. Do you --
23    Q. You're referring to Page 1 in the upper           23             MR. GROSSMAN: (To Mr. Koethe.)
24       right-hand corner?                                24      Yeah, that's a good point.
25    A. Yes.                                              25   Q. Do you know whether the FTC or the cigarette

                                                                                               23 (Pages 86 to 89)
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                                               Page 118                                                  Page 120
 1               AFTERNOON SESSION                     1          about these monographs?
 2             THE VIDEOGRAPHER: The time is           2       A. I recall that there were monographs that
 3       1:21. This is the beginning of Tape 3, and    3          indicated the time at which it became public
 4       we are back on the record.                    4          knowledge, or alleged public knowledge, that
 5                                                     5          light cigarettes were a comparable health
 6           (John R. Hauser, Sc.D., Resumed.)         6          risk to regular cigarettes. But, again,
 7             DIRECT EXAMINATION, Continued           7          that was told to me by you. I'm not
 8                                                     8          claiming expertise on that particular
 9       BY MR. GROSSMAN:                              9          question.
10    Q. Doctor, I hope you had a good lunch.         10       Q. Fine. Do you claim any expertise on the --
11    A. Thank you.                                   11          on cigarette risk assessment?
12    Q. I would just like to go through a series of  12                  MR. GALLAGHER: Objection to the
13       areas of expertise that I believe you don't  13          form.
14       have, but I wanted to confirm them. First    14       A. Could you please define the term?
15       of all, have you ever read any of the        15       Q. Yeah. Do you claim any expertise on the
16       Surgeon General's reports on smoking and     16          degree of risk inherent in various designs
17       health?                                      17          of cigarettes --
18    A. Oh, certainly was in the popular press, so I 18                  MR. GALLAGHER: Objection to the
19       may have read something in the newspapers. 19            form.
20    Q. You read about them?                         20       Q. -- health risk?
21    A. I may have read about them. I don't know. 21                     MR. GALLAGHER: Sorry. Objection
22       At the time I may have read them, but I      22          to the form.
23       don't recall any details.                    23       A. Are you asking if I have any scientific
24    Q. How often do they come out?                  24          opinions as to which particular cigarettes
25    A. How often --                                 25          cause which health risks --

                                               Page 119                                                  Page 121
 1    Q. Yeah.                                             1   Q. Uh-huh. Uh-huh.
 2    A. -- do the Surgeon General reports come out?       2   A. -- or whether cigarettes cause health risks?
 3       I'm not claiming any expertise on that.           3      I do not have any scientific opinions as to
 4    Q. Fine. Are you familiar with the document          4      whether or not cigarettes cause health
 5       that's entitled "Monograph 13 of the Public       5      risks, that I'm providing in this case.
 6       Health Service"?                                  6   Q. And you don't have any scientific opinions
 7    A. I believe that's -- I know there's a              7      as to the difference in health risks of
 8       monograph, but I can't remember the numbers       8      individual brands of cigarettes; is that
 9       that -- where some decisions were made as to      9      correct?
10       whether or not -- how healthy cigarettes         10   A. I am providing in this case opinions about
11       were, and this was -- information on that        11      people's perceptions of the differences in
12       was provided to me by counsel.                   12      health risk.
13    Q. Okay. You recall receiving a monograph from      13   Q. Do you have any -- do you purport to have
14       counsel on the health implications of            14      any expertise about the actual differences
15       cigarettes?                                      15      in risk between various brands of
16    A. No, I do not recall receiving a monograph        16      cigarettes?
17       from counsel on the health implications of       17   A. I do not have any -- I'm not a -- I'm not
18       cigarettes.                                      18      providing any medical opinions in this case
19    Q. Do you recall having been told about it?         19      as to the differences in health risk between
20    A. I recall having been told the existence of       20      various brands of cigarettes.
21       monographs, yes.                                 21   Q. Are you familiar with the term
22    Q. Okay. Do you know whether you were told          22      "compensation" as it's applied to low tar
23       about the existence of Monograph 7?              23      cigarettes?
24    A. I do not recall the numbers.                     24              MR. GALLAGHER: Objection to the
25    Q. Okay. Do you recall what you were told           25      form.

                                                                                             31 (Pages 118 to 121)
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 1       able to determine whether there is material       1      specific brand within that.
 2       that Dr. Hauser has done that could be            2   Q. Well, first of all, I don't think you've
 3       relevant to his opinions in this case or          3      answered my question. Second, I think we
 4       relevant to cross-examination I want to           4      need to go back over your answer in another
 5       know, at a minimum, whether any studies have      5      way. Let's take it one at a time.
 6       been done that are specific to a particular       6          Apart from the study that you
 7       brand, and in this case it's Marlboro.            7      conducted in this case, have you conducted
 8              MR. GALLAGHER: I understand that.          8      any study regarding consumers' perceptions
 9       I need to continue to instruct him in the         9      of the health effects of any particular
10       same manner. I'm happy to discuss that with      10      brand of cigarette?
11       counsel, to confer with counsel, in the          11   A. How do I say this? I want to be very exact
12       Massachusetts case to see if it is               12      in that we piloted some work, and it's all
13       appropriate or not appropriate for that to       13      been disclosed to you completely, that had a
14       be disclosed, but that's the best I can do.      14      slightly different sample than the work in
15       And I'm happy to work with you -- work with      15      this case, but it was pilot work, and I'm
16       you on that.                                     16      not forming nor am I -- I have not formed
17              MR. GROSSMAN: Well, let me                17      any opinion based upon that.
18       rephrase the question.                           18   Q. Now, you said that in this survey you had
19       BY MR. GROSSMAN:                                 19      asked questions or received answers that
20    Q. Dr. Hauser, have you ever done any brand-        20      suggested consumers' understanding -- brand-
21       specific studies regarding consumer              21      specific understanding of the health risks
22       perception of the health aspects of any          22      of particular brands of cigarettes?
23       particular brand of cigarettes?                  23   A. Okay.
24              MR. GALLAGHER: Okay. Same                 24             MR. GALLAGHER: And, I'm sorry, by
25       instruction. If you've done so in a              25      "this survey" you mean the conjoint

                                               Page 147                                                 Page 149
 1       consulting fashion for any other litigation       1      analysis?
 2       that has not yet been disclosed, you should       2              MR. GROSSMAN: By the -- the survey
 3       not disclose that at this time without            3      used for the conjoint analysis.
 4       permission of those attorneys involved in         4              MR. GALLAGHER: Okay.
 5       that case.                                        5   Q. Doctor, let me go inside that answer. First
 6              MR. ALLINDER: Just so I                    6      of all, in your questionnaire you asked
 7       understand, is that an instruction not to         7      people for their brand of cigarettes; is
 8       answer, Paul?                                     8      that correct?
 9              MR. GALLAGHER: I think it's better         9   A. Yes, people reported their brand of
10       if Mr. Grossman and I have a single dialogue     10      cigarettes.
11       while he's asking the questions.                 11   Q. But you did not ask people for their
12              MR. GROSSMAN: Well, I'm waiting           12      perceptions of their brand of cigarettes
13       for the answer, and then I'll see how I          13      compared to other brands; is that right?
14       address it.                                      14              MR. GALLAGHER: Objection to the
15    A. What's the question on the table?                15      form.
16    Q. Have you conducted any brand-specific            16   A. The survey asked people their perceptions of
17       studies regarding consumers' perceptions of      17      their brand of cigarettes. There are
18       the health effects of any specific brand of      18      instances where if, for example, their brand
19       cigarette?                                       19      did not have an ultra light, we gave other
20              MR. GALLAGHER: Same instruction.          20      examples of brands they consider as
21    A. Certainly in the study that I've done for        21      reference.
22       this case, we asked people's brand, and we       22   Q. You did not ask smokers of, say, Marlboro
23       found no significant differences among           23      Lights to compare the health effects of
24       brand, so having conducted it for many           24      Marlboro Lights to Camel Lights or Winston
25       brands, I guess one could say that that's a      25      Lights; is that correct?

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                                                Page 150                                                   Page 152
 1    A. I stand by the answer I've just given, and I       1      that was mentioned yesterday, which I
 2       do want to -- there are issues where the           2      confirmed today, the Daubert hearings will
 3       cigarette that they're light smoking may not       3      take place around August 10th."
 4       have an ultra light version, for example,          4          Are you familiar with Daubert
 5       thus they refer to other reference.                5      hearings?
 6    Q. My question --                                     6   A. I know what a Daubert hearing is.
 7    A. Let me continue.                                   7   Q. Have you ever participated in one before?
 8    Q. Yeah.                                              8   A. Yes.
 9    A. Beyond that, they were not asked to do a           9   Q. How many cases?
10       perceptual mapping of their preferences --        10   A. Well, there was only one time where I
11       sorry, their perceptions of all of the            11      actually had to testify in a Daubert
12       brands of cigarettes.                             12      hearing.
13    Q. The questions dealt with lights, so-called        13   Q. Uh-huh. When was that?
14       regulars and ultra light cigarettes               14   A. This was in federal court in Florida.
15       generically; there was no question apart          15   Q. And when was that?
16       from the question asking people what brand        16   A. It's on my vitae. I can look it up. Do you
17       they smoked that referred to differences          17      want me to look it up?
18       between brands of cigarettes but only of          18   Q. Who was the client?
19       types of cigarettes; is that correct?             19   A. The client was the Attorney General --
20       You're shaking your head. I'll rephrase the       20      Attorneys General of a number of different
21       question.                                         21      states. I suspect it was about 30 different
22    A. I don't fully understand your question --         22      states, but the exact number I don't recall.
23    Q. I'll rephrase --                                  23   Q. In what kind of case?
24    A. You mixed things --                               24   A. This was a price-fixing case.
25    Q. I'll rephrase --                                  25   Q. Okay. So pursuant to this e-mail you

                                                Page 151                                                   Page 153
 1    A.  -- up there.                                      1      understood that you might be called upon to
 2    Q.   I'll rephrase --                                 2      testify at Daubert hearings around August
 3    A.  Okay.                                             3      10th, correct?
 4    Q.   -- the question.                                 4   A. That's what the e-mail says, yes.
 5             Could you point me to any question on        5   Q. And it's your understanding, is it not, that
 6       your questionnaire that asks respondents to        6      you do not participate in the Daubert
 7       compare the health effects of any two brands       7      hearing until after you have filed an expert
 8       or any aggregation of brands of cigarettes         8      report?
 9       apart from comparisons between regular,            9   A. That's -- I'm not a lawyer, so I don't know
10       light and ultra light cigarettes, as you          10      the rules of when you do or don't appear in
11       define them?                                      11      a Daubert hearing.
12                MR. GALLAGHER: Objection to the          12   Q. How long did you estimate for plaintiffs'
13       form.                                             13      counsel it would take to conduct the study
14    A. Within the survey consumers were asked to         14      that you would undertake in this case?
15       compare within brand health risk, within          15             MR. GALLAGHER: Objection to the
16       brand taste, soft versus hard pack and            16      form.
17       price, so four attributes. You've just            17   A. I did not provide a specific estimate of the
18       stated one. They were then not -- they were       18      time it would take.
19       not specifically asked nor was it a part of       19   Q. Did AMS provide a specific estimate, to your
20       the design of the survey for one consumer to      20      knowledge?
21       give their own perceptions of many different      21   A. I do not know that.
22       brands of cigarettes.                             22   Q. Did you provide an approximate estimate on
23    Q. Okay. Now, looking again at the page that         23      the time it would take to conduct the study?
24       you have in front of you, which is Hauser         24   A. I did not provide an approximate estimate.
25       005, on the bottom it says, "Another fact         25      It was my goal to do the study correctly and

                                                                                              39 (Pages 150 to 153)
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                                               Page 162                                                  Page 164
 1    A. Well, as you're no doubt familiar, there are      1      think a while what I put into my notes, but
 2       a lot of potential biases --                      2      basically -- let me state it in a positive
 3    Q. Yeah. Could you --                                3      way: that the survey experts should do
 4    A. -- in surveys.                                    4      their best to make sure the questions are
 5    Q. -- enumerate those?                               5      understood, that there's no order effects,
 6    A. And one of the roles of the survey expert is      6      that there's no response biases, and that
 7       to minimize these biases, and in addition to      7      they are analyzed correctly.
 8       trying to minimize those biases, to do            8   Q. Okay.
 9       various things such as randomization to           9   A. And that's the best -- you know, if that's
10       eliminate any biases that might happen, and      10      done right, then you're going to minimize
11       then finally to look at various statistics       11      the biases.
12       that could determine whether or not these        12   Q. What is order effect bias?
13       biases did happen.                               13   A. Okay. An order effect bias would be if --
14           Now, if you were asking me to                14      oh, you know, suppose I ask you a very
15       enumerate all the potential biases, there        15      leading question, as you're very familiar
16       are excellent textbooks on the subject.          16      with this, and by asking you that leading
17    Q. Enumerate those, if you can recall.              17      question I get you thinking in one way and
18    A. Oh, well, there could be telescoping, both       18      then I ask the same question again. That
19       reverse and forward telescoping. You know,       19      might -- the first question might bias the
20       there certainly could be other sample            20      second question.
21       biases, and we did our best to prevent           21   Q. That's an example of an order effect bias?
22       those. There certainly could be order            22   A. That's what you asked for, yes.
23       effect biases, and we randomized to avoid        23   Q. Yes. I actually asked a definition. An
24       those. You know, again, just every aspect        24      order effect bias is a bias that's injected
25       of the survey we have to look at as              25      into a survey when the order of the

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 1       carefully as possible, and we've done our         1      questions leads the respondent to assume the
 2       best to minimize any potential biases. And        2      answer that the questioner apparently wants;
 3       furthermore, we have statistics that              3      is that correct?
 4       indicate that they are not there.                 4             MR. GALLAGHER: Objection to the
 5    Q. Are there any other kinds of biases that you      5      form.
 6       can recall, as we sit here?                       6   A. Not quite.
 7    A. You know, if the word -- if the questions         7   Q. Okay. How is it not correct?
 8       are -- if the -- if a pretest is not done         8   A. What you're defining is demand artifact.
 9       and the survey expert doesn't know that the       9   Q. Uh-huh. What is demand artifact?
10       questions are understandable to response         10   A. Demand artifact is when the types of
11       (sic), there may be random order, random         11      questions, not necessarily the order,
12       effects.                                         12      although could be the order, causes the
13           I think it's also worth noting that          13      respondent to guess or infer which answer is
14       there's a difference between bias, which is      14      desired by the surveyor.
15       a change in the expected value of the            15   Q. And that's a type of bias; is that correct?
16       answer, which is a systematic direction, and     16   A. That's a type of bias. And we were very
17       potential randomness that is added. So a         17      careful to avoid demand artifactS.
18       lot of these -- a lot of effects such as         18   Q. And how is order effect different, order
19       question ordering, sample things can add         19      effect bias different?
20       noise and not necessarily a bias.                20   A. An order effect, it -- the order of the
21           Another type of bias might be                21      questions may actually influence the
22       endogeneity bias.                                22      respondents' answers, and that's why we
23    Q. Anything else?                                   23      randomize certain portions of the
24    A. You know, you're asking me to list, you          24      questions -- certain portions of the survey,
25       know, on the spot. I have to sit down and        25      I'm sorry, not the questions.

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 1       sure that there is as little bias as is          1   A. If Ms. Schussheim had made notes, those
 2       feasible and that any errors in the survey       2      would have been provided to you.
 3       are in fact zero mean.                           3   Q. Were any transcripts made of those
 4    Q. And to avoid sample bias you want to make        4      interviews?
 5       sure that the population being surveyed is       5   A. I do not believe that there were any
 6       as representative as possible of the target      6      transcripts of those interviews.
 7       population, correct?                             7   Q. Were any of the interviews recorded?
 8               MR. GALLAGHER: Objection to the          8   A. I do not know if there were any recordings
 9       form.                                            9      of those interviews.
10    A. Not entirely correct.                           10   Q. Now, how were the 14 interviews --
11    Q. How is it not correct?                          11      interviewees selected for those interviews?
12    A. What I want to make sure is that if there's     12   A. As is appropriate, they were selected as a
13       any non-representativeness, that that           13      somewhat representative but not fully
14       non-representativeness is not correlated        14      representative. For example, they were all
15       with the model that I'm -- being developed.     15      within the Boston area. We're most
16       And you could have a non-random sample, but     16      interested in the general understanding
17       as long as the non-randomness or the            17      within the qualitative interviews. Now, we
18       non-representativeness is not correlated        18      wanted a distinguished qualitative pretest,
19       with the variables you're trying to analyze,    19      but the qualitative interviews were chosen
20       it will provide no bias.                        20      to understand the wording.
21           And that goes back to sort of the           21             MR. GALLAGHER: Ted, when you have
22       second term in the mathematical equation I      22      a chance, can we take a break?
23       just gave you. It's a slightly different        23             MR. GROSSMAN: Yeah, in a couple
24       way of forming the question. It's not           24      minutes we'll reach a break point.
25       endogeneity-based, but it goes back to that.    25   Q. In the qualitative -- all of the people for

                                              Page 171                                                 Page 173
 1    Q. Now, in this case you, you and AMS conducted     1      the qualitative interviews were from the
 2       pretests, three rounds of pretests before        2      Boston area, and all of them smoked light
 3       the questionnaire was administered on the        3      cigarettes; is that correct?
 4       Web; is that right?                              4   A. I believe they were all light cigarettes.
 5    A. Well, there are two types of -- there were       5      You know, I would have to go back and check
 6       qualitative interviews, and there were           6      that.
 7       pretests. And so, you know, done over            7   Q. Do you have any record of or any knowledge
 8       multiple -- the multiple parts of all of         8      of the ethnic breakdown of the people who
 9       those.                                           9      were interviewed in the qualitative
10    Q. And there were seven people in the first        10      interviews?
11       qualitative -- in the first round of            11   A. I do not recall whether that data was
12       qualitative interviews; is that correct?        12      collected -- those data were collected.
13    A. Well, not quite.                                13   Q. Do you recall whether there were any efforts
14    Q. How many were there?                            14      to -- for the qualitative interviews to
15    A. I believe there were 14.                        15      include people who were African American,
16    Q. We have reports of seven. Were reports          16      people who were Hispanic, people who met
17       generated for every one of the people who       17      other demographic criteria of that kind?
18       was in the qualitative interviews?              18   A. These are -- were basically going for
19    A. No, I believe that -- I think Mr. Gaskin did    19      qualitative interviews, which means we want
20       seven, and Ms. Schussheim did, and Mr.          20      to make sure that people understand the
21       Gaskin took detailed notes. Ms. Schussheim      21      surveys, and I've written fairly extensively
22       gave me verbal briefings on the interviews      22      on this. You do not need to do the same
23       that she had done.                              23      level of projectability, of sampling, and
24    Q. Were any notes of any kind made of Ms.          24      this has been the literature, oh, certainly
25       Schussheim's interviews?                        25      back through the '60s that that's not

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 1       necessary.                                       1      any knowledge whatsoever whether any of the
 2           So we followed scientific standards          2      respondents for the qualitative research was
 3       there. So as a result, I do not know of all      3      Hispanic?
 4       the demographic breakdowns of the 14 people      4              MR. GALLAGHER: Objection, asked
 5       in the qualitative interviews.                   5      and answered.
 6    Q. Okay. So you don't know if any were black;       6   A. Well, I'll give the answer that I've given
 7       is that correct?                                 7      before, which is following appropriate
 8    A. I did not -- I do not recall collecting all      8      methodology --
 9       the demographic information for people in        9   Q. If you're going to give the same answer,
10       the -- for the 14 people in the qualitative     10      then there's no need to waste time.
11       interviews nor did I feel that was              11   A. Well, let the record reflect that I was not
12       necessary.                                      12      able to finish my answer.
13    Q. In answer to the question, then, you do not     13   Q. I'll let the record reflect that we're in
14       know whether any of the 14 people who were      14      the midst of a filibuster that's going to
15       interviewed was black; is that correct?         15      take a long time, and all of this is going
16    A. Sitting here today, it might be possible to     16      to be before the judge. We're in the midst
17       find out whether or not that's the case, but    17      of writing a motion now.
18       I do not recall whether any of those were       18              MR. GALLAGHER: Come on, Ted. Come
19       African American.                               19      on, Ted. Just ask questions, please.
20    Q. Do you recall whether any of the people         20   Q. Yes or no, do you know whether --
21       interviewed was Hispanic?                       21              MR. GALLAGHER: Please don't berate
22    A. As I've indicated, I did not record or did      22      the witness.
23       not ask to be recorded the demographic          23              MR. GROSSMAN: I am asking a
24       match -- makeup of these people. I did ask      24      question.
25       that they be representative, and you can go     25   Q. Yes or no, do you know whether any of the 14

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 1       through question after question and my           1      people interviewed was Hispanic?
 2       answer's going to be the same, I did not         2             MR. GALLAGHER: You just asked the
 3       record --                                        3      question. He started to give an answer, and
 4    Q. Well, I need a record of this. So the            4      you told him you didn't want to hear it, so
 5       answer is you do not know whether any of the     5      do you want an answer or not?
 6       14 people were Hispanic; is that correct?        6             MR. GROSSMAN: I want an answer.
 7    A. As I've indicated, Mr. Gaskin and Ms.            7             MR. GALLAGHER: Okay.
 8       Schussheim collected a representative sample     8   Q. Yes or no, do you know whether any of the 14
 9       that is appropriate for qualitative              9      people was Hispanic?
10       research, and as a result I did not ask them    10             MR. GALLAGHER: Objection, asked
11       to record the demographic information;          11      and answered. Go ahead, Dr. Hauser.
12       therefore, on Hispanic or black -- or           12   A. My understanding -- if I am to answer your
13       African American or other ethnic diversity      13      question, you cannot dictate the form of the
14       I'm not able, sitting here today, to answer     14      answer. And I want to indicate, once again,
15       you as to what the makeup of that sample        15      that I did not collect any information -- or
16       was.                                            16      did not record any information as to the
17    Q. And to the best of your knowledge, you don't    17      ethnic background; therefore, I do not know
18       know if anyone in the sample was Hispanic;      18      whether or not -- I do not know, sitting
19       is that correct?                                19      here today, whether or not anybody was
20    A. I believe I've answered that question two or    20      Hispanic or not Hispanic.
21       three times.                                    21   Q. Do you know what the income levels of the 14
22    Q. No, you haven't.                                22      people were?
23              MR. GALLAGHER: Yeah, he has.             23   A. Once again, I did not record the demographic
24    Q. It's a simple question. It just asks for a      24      makeup of the 14 people in the qualitative
25       simple answer. Do you know -- do you have       25      interviews, as is appropriate scientific

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 1       knowledge; therefore, sitting here today, I       1      it's a good way to determine --
 2       do not necessarily know what the income of        2              MR. GALLAGHER: Okay. Ask your
 3       these people were.                                3      question, please.
 4    Q. Were they asked their income?                     4   Q. What I want to know is, is there any way
 5    A. To the best of my recollection, I do not          5      that you can tell whether the education
 6       recall whether or not they were asked their       6      level of the 14 people who were interviewed
 7       income.                                           7      is the same on average as the education
 8    Q. Do you have any information about the level       8      level of light smokers generally?
 9       of education of the 14 people who were --         9   A. As I've indicated before, I have not
10    A. As I've indicated before, we did a               10      collected demographic information on the 14
11       qualitative pretest -- qualitative               11      qualitative informations, nor did I need a
12       interviews with 14 people to understand the      12      feeling -- did I have a feeling to do it.
13       wording. Following appropriate scientific        13      Therefore, I did not have the income or the
14       methodology, I did not record the                14      education information on the 14 people.
15       demographic makeup of these respondents;         15      Therefore, I would not be able to do, say, a
16       therefore, I do not know specifically what       16      chi squared test versus the entire
17       their income was.                                17      population.
18    Q. I'm asking you what their --                     18              MR. GROSSMAN: You wanted a break,
19    A. Or education. I do not know specifically         19      we can take a break now.
20       what their education is.                         20              MR. GALLAGHER: Great. Thank you.
21    Q. As we sit here today, you cannot say that        21              THE VIDEOGRAPHER: The time is
22       the 14 people interviewed were                   22      2:36. There is the end of Tape 3, and we
23       representative of smokers of light               23      are off the record.
24       cigarettes as a group with regard to             24           (Recess taken.)
25       education; is that right?                        25              THE VIDEOGRAPHER: The time is

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 1              MR. GALLAGHER: Objection to the            1      2:48. This is the beginning of Tape 4, and
 2       form, lack of foundation.                         2      we're back on the record.
 3    A. Actually, here I would rely -- you've             3      BY MR. GROSSMAN:
 4       actually asked me to, I believe, when we          4   Q. Thank you. Dr. Hauser, let me direct you,
 5       looked at Exhibit 3, you actually indicated       5      if I may, to Exhibit 3 once again, which is
 6       "The Voice of the Customer," which is an          6      excerpts from the website of AMS, and if I
 7       award winning paper. I think it was the --        7      may, I'd like to direct you to the page --
 8       it's won a number of awards. It's been            8      to the -- what's called Page 3 of 3 here on
 9       cited, I don't know if it's 100 or 200 times      9      "FAQ on Legal Surveys."
10       scientifically, and in that paper there is a     10   A. Okay. The word "broad" appears in the upper
11       very I think fairly well-known beta binomial     11      left corner?
12       model which establishes to a high scientific     12   Q. The word -- excuse me?
13       degree that this number of people are more       13   A. "Broad"?
14       than sufficient to determine the wording.        14             MR. GALLAGHER: Yes.
15       Therefore, it is, in fact, representative of     15   Q. Yes.
16       what -- the wording that we might effect.        16   A. Okay.
17       And I've got scientific basis to back that       17   Q. Do you see where it says, "What are the main
18       up.                                              18      things to consider when choosing a survey
19    Q. I didn't ask you that question.                  19      research expert"?
20    A. Yes, you did.                                    20   A. Yes.
21    Q. No, I didn't. I asked you whether the            21   Q. It says, "When hiring a new survey expert,
22       education level of the 14 people involved        22      the most important criteria to consider (in
23       was representative of the education level of     23      no particular order) are testifying skill,
24       light smokers generally, not whether you are     24      credentials, expertise, and availability.
25       willing to rely upon this and not whether        25      Look for a survey expert who can provide an

                                                                                            46 (Pages 178 to 181)
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 1       admissible opinion under the Daubert-Joiner-      1      correct?
 2       Kumho gate-keeping tests and also remain          2   A. I do not recall doing any other survey
 3       cool when testifying under oath despite           3      research in the cigarette industry apart
 4       intensive questioning."                           4      from what's been done in this case or
 5           Do you know who drafted that?                 5      related issues.
 6    A. No, I don't.                                      6   Q. Either before your work in this case or
 7    Q. Did you participate in drafting that?             7      during the work in this case, did you study
 8    A. No, I didn't.                                     8      the demographics of smokers of light
 9    Q. Do you know what the Daubert-Joiner-Kumho         9      cigarettes?
10       gate-keeping tests are?                          10   A. Well, what we have is we have a set of 72
11              MR. GALLAGHER: Objection to the           11      demographic categories, and then within that
12       form, calls for a legal conclusion, but go       12      we have people who are light cigarettes
13       ahead.                                           13      (sic), so we have some indication of what
14              THE WITNESS: Okay.                        14      the demographic mix might be, but I have not
15    A. As I've testified before, I've been              15      made any specific study of the demographic
16       through what I was told was the Daubert          16      makeup of the light cigarette population.
17       hearing, but I'm not a lawyer, so I didn't       17   Q. Okay. Just for clarification, you have --
18       realize that there's actually two other          18      you have categories that you asked the
19       words that go with it.                           19      people who answered questionnaires, correct?
20    Q. Okay. Could you look at the next page of         20              MR. GALLAGHER: Objection, asked
21       this, entitled "Checklist For Choosing a         21      and answered.
22       Survey Research Expert."                         22   A. Well, not correct. That's not exactly -
23    A. Yes.                                             23   Q. Okay. Well, let me --
24    Q. Did you help draft this checklist?               24   A. That's not actually --
25    A. No, I did not.                                   25   Q. Let me rephrase the question.

                                               Page 183                                                 Page 185
 1    Q.  Have you seen it before?                         1           You say you asked certain demographic
 2    A.  No, actually, I haven't.                         2      characteristics in the questionnaires that
 3    Q.  You have not?                                    3      were provided for this survey, correct?
 4    A.  No, I haven't.                                   4   A. We asked demographic questionnaires in
 5    Q.  Okay. I would like to direct your                5      the -- demographic questions in the study.
 6       attention, if I may, 60 percent down the          6   Q. But since you have made no study of the
 7       page under the area of "Expertise."               7      demographics of light smokers in the general
 8    A. "Expertise."                                      8      population, you have no way to compare the
 9    Q. It says, "Has" -- third down, "Has survey         9      demographics of those who were surveyed with
10       research experience in the specific              10      the demographics of light smokers in the
11       industry."                                       11      general population as a whole; is that
12           Do you see that?                             12      correct?
13    A. The word -- I see the phrase that says, "Has     13             MR. GALLAGHER: Objection to the
14       survey research experience in the specific       14      form, lack of foundation.
15       industry, research modality or" --               15   A. No, that's not correct.
16    Q. "Population"?                                    16   Q. Well, what percentage of light smokers in
17    A. Oh, "population," okay. It's cut off.            17      the United States have family incomes under
18    Q. Okay.                                            18      $50,000?
19    A. So I presume that's the logical or.              19   A. I don't recall the answer to that question,
20    Q. Doctor, it's correct, is it not, that you do     20      sitting here today.
21       not have -- I'll rephrase the question to        21   Q. How does the demographic makeup of the
22       see if it -- to make you happier.                22      respondents to your questionnaire compare to
23           You have no research survey                  23      the demographic makeup of light smokers
24       experience, apart from what you've done in       24      generally with regard to the number of
25       this case, in the cigarette industry,            25      people who have family incomes under

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 1    A. Well, we said that if people do that, then       1      lower price or hard pack versus soft pack or
 2       lexicographic might be a way of describing       2      taste; is that correct?
 3       it. We did not say that any study had been       3   A. Right. These people considered health risks
 4       done to demonstrate that people are              4      extremely important, but it actually was a
 5       lexicographic with respect to SUVs.              5      compensatory attribute.
 6    Q. So your survey among -- how many people were     6   Q. Now, surveys are designed with specific
 7       surveyed?                                        7      goals. This survey was designed with a
 8    A. Oh, I seem to recall it was 627, but we can      8      specific goal; is that correct?
 9       look up the -- well, 627 responses.              9   A. A survey is designed to answer specific
10    Q. All right. Among the 627 respondents to         10      questions.
11       your survey, there was not a single person      11   Q. What was the specific question that you
12       who appeared to decide first that he would      12      sought to answer here?
13       choose only the cigarettes with the least       13   A. Well, the specific question that I was asked
14       risk and then decide among those cigarettes     14      to look into was how people value health
15       that had the least risk; is that correct?       15      risks.
16              MR. GALLAGHER: Objection to the          16   Q. And the questions in the survey method have
17       form.                                           17      to be appropriate to that study goal; is
18    A. That's not quite right.                         18      that correct?
19    Q. For the four aspects that you considered        19             MR. GALLAGHER: Objection to the
20       there was no one who made a determinative       20      form.
21       choice that he would only consider those        21   A. Well, certainly the questions in the survey,
22       cigarettes that had the lowest health risk;     22      the -- well, questions in the survey are
23       is that correct?                                23      designed to answer that question. Now, not
24    A. What the survey says is that there are other    24      every question in a survey needs to answer
25       aspects such as price, such as taste, such      25      any specific question, and sometimes some

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 1       as pack type which can compensate for lower      1      questions will be included in a survey to
 2       health risk, and, in fact, there might --        2      avoid demand artifacts, and there's reasons
 3       people might be willing to accept higher         3      why all the questions are in the survey.
 4       health risk for a much, much lower price.        4      But certainly looking at the overall goal of
 5       And --                                           5      trying to answer a particular set of
 6    Q. It wasn't a --                                   6      questions is part of the role of designing a
 7               MR. GALLAGHER: Hold on. Hold on.         7      survey.
 8               MR. GROSSMAN: I'm sorry.                 8   Q. Doctor, let me confirm that your survey was
 9               MR. GALLAGHER: Please finish, Dr.        9      not designed for certain things, okay?
10       Hauser.                                         10      First, your survey was not designed to
11    A. You know, and that's what the survey says.      11      determine what any respondent's second brand
12       Now, a few times you haven't been               12      choice would be if their choice were not --
13       technically accurate in describing a            13      if their cigarette of choice were not
14       lexicographic process, and just for the         14      available; is that correct?
15       record, a lexicographic process is one in       15   A. My survey was not designed to do an
16       which there are no other aspects that can       16      interbrand comparison.
17       compensate for the initial choice on that       17   Q. It was not designed to determine cross-
18       first aspect or on the second or whatever       18      elasticity of demand among brands; is that
19       going down the list, so it's a little bit       19      correct?
20       different than you defined technically, and     20   A. My survey was not designed to determine
21       I would like to stay with the technical         21      interbrand cross-elasticity; however, my
22       definition.                                     22      survey can be used for cross-elasticity
23    Q. There wasn't a single person of the 620         23      among attributes.
24       (sic) respondents who were surveyed who         24   Q. For example, do you know whether a Marlboro
25       would not trade health benefits for either      25      Lights smoker in the absence of his Marlboro

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 1       Lights is more likely to choose another          1      risks and other aspects of questions they
 2       Marlboro product or another lights product?      2      can answer. However, my survey did not
 3    A. I am not providing an expert opinion with        3      specifically ask what information they --
 4       respect to that. I have not done a survey        4      the conjoint survey did not ask what
 5       with respect to that particular question. I      5      information they obtained, whether it be in
 6       focused on light cigarettes, and I focused       6      the form of articles or other sources of
 7       on the brand of cigarette that they were         7      information.
 8       smoking and asked questions about the            8   Q. Okay. You don't know the extent to which
 9       attributes of those light cigarettes.            9      the survey respondents believed or didn't
10    Q. Your survey was not intended to determine       10      believe what they heard from cigarette
11       what the respondents had read about the         11      companies; is that correct?
12       potential dangers of light cigarettes in        12   A. We're speaking about the conjoint survey?
13       relationship to other cigarettes; is that       13   Q. We're speaking about the survey as a whole.
14       correct?                                        14      You did not ask respondents the degree to
15    A. We're talking about the conjoint analysis       15      which they relied upon statements of the
16       survey?                                         16      cigarette companies or the Surgeon General
17    Q. Yes.                                            17      or other public health authorities or
18    A. The conjoint analysis survey was not            18      newspapers or magazines or television or
19       designed to determine what consumers had        19      anything else; is that correct?
20       read about cigarettes, light cigarettes or      20   A. The conjoint survey did not ask
21       other cigarettes; however, certainly any        21      respondents -- let me see if I can remember
22       knowledge that they would have gained from      22      this list that you've given me. They did
23       reading that would have gone into the           23      not ask respondents whether they relied upon
24       answers that they provided with respect to      24      information from the Surgeon General. The
25       the survey.                                     25      conjoint survey did not ask explicitly how

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 1    Q. It didn't measure how many people had read       1      many articles people had read. And then you
 2       articles that equated the risks of light         2      had a whole list of other things.
 3       cigarettes with the risks of full-flavored       3   Q. Sir, that --
 4       filter cigarettes; is that correct?              4   A. By and large, you know, I think it's fair to
 5               MR. GALLAGHER: Objection to the          5      say that the conjoint analysis survey was
 6       form.                                            6      asking people's preferences with respect to
 7    A. My survey did not ask respondents how many       7      these -- the characteristics that we
 8       articles they had read.                          8      measured, as well as other questions, in
 9    Q. And it didn't measure that?                      9      particular trade-offs among health risk and
10    A. My survey may have measured that indirectly,    10      other things such as monetary value. The
11       and certainly the amount of articles they       11      survey was not designed to determine where
12       read could have influenced their own            12      they obtained information about health
13       perceptions of health risks. And to the         13      risks.
14       extent that that did, there's some indirect     14   Q. The survey was not designed to measure the
15       evidence. However, I'm quite happy to say       15      respondents' understanding of the word
16       that the survey did not ask specific            16      "light" as opposed to some other descriptor;
17       questions as to how many articles consumers     17      isn't that correct?
18       had read.                                       18   A. The word "light" is used in the survey, and
19    Q. In fact, your survey did not ask any            19      I'm quite happy that -- with the pretest and
20       questions that regarded any source of           20      the qualitative interviews that respondents
21       information for the respondents; is that        21      understood the light with -- the word
22       correct?                                        22      "light" within the context of the survey.
23    A. My sur -- the information that respondents      23      However, the survey was not designed to
24       had obtained, had read or had otherwise         24      totally determine everything that "light"
25       gotten would affect their answers to health     25      might imply in every product category.

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 1    Q. It was not designed to determine whether the      1      cigarettes to the taste of what you referred
 2       respondents would have purchased the same         2      to as regular cigarettes?
 3       cigarettes that they in fact smoked if those      3   A. And I know I'm splitting straws here, but I
 4       cigarettes did not have the word "light" on       4      really want to be accurate as a
 5       them; is that correct?                            5      statistician. The average of respondents is
 6              MR. GALLAGHER: Objection to the            6      such that the partworth of light -- taste of
 7       form.                                             7      light is higher than the partworth of taste
 8    A. You know, that's kind of a little bit of a        8      of regular.
 9       vague question. You know, certainly the           9   Q. As we sit here --
10       survey asked people as to whether or not         10   A. It's the average of respondents, not the
11       certainly their preferences with respect to      11      average respondent.
12       the health risks and the taste and also          12   Q. As we sit here today, you have no opinion on
13       monetary value and pack size -- pack type        13      whether the choice to smoke the particular
14       with respect to light cigarettes. However,       14      cigarettes that the respondents smoked was
15       we're focusing on people who have already        15      driven by taste or by the word "light" or by
16       decided to choose light cigarettes.              16      some other factor; is that correct?
17            So I did not do any analysis of why         17              MR. GALLAGHER: Objection to the
18       those people chose light to determine            18      form.
19       whether or not it had "light" on the pack or     19   A. That's not correct.
20       whether they had some other -- some other        20   Q. As we sit here today, do you understand
21       reason for buying it. However, once they         21      that -- let me represent to you that every
22       did choose light, I now know that they're        22      ad for every cigarette in the United States
23       willing to basically trade -- they value         23      for the last few decades has represented the
24       health risk, they're pretty uniform in terms     24      tar and nicotine content by FTC measure of
25       of valuing health risk, 90 percent of them       25      the cigarette in question --

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 1       at least, and furthermore, that they're           1   A. Okay. You're giving -- you're asking me to
 2       willing to make trade-offs of health risk         2      accept the fact that --
 3       versus monetary value.                            3   Q. Accept that.
 4    Q. That --                                           4   A. -- I have no way of verifying sitting
 5                THE WITNESS: Have we been going          5      here --
 6       for about an hour? Because I'm getting a          6   Q. Yes.
 7       little tired.                                     7   A. -- today?
 8                MR. GALLAGHER: If you need a             8   Q. Yes, accept it.
 9       break, say so.                                    9   A. Okay.
10                THE WITNESS: Yeah.                      10   Q. And so that any consumer who wants to know
11    Q. I'll just ask a couple more, and then we can     11      the tar and nicotine content of his
12       take a break if you want.                        12      cigarette as measured by the FTC method can
13    A. I just need a candy bar.                         13      see that on any ad and every ad for
14    Q. Okay. Well, we'll inquire more about this        14      cigarettes? Do you understand that's the
15       later. The majority of light smokers             15      predicate of this?
16       preferred the taste of lights, either the        16             MR. GALLAGHER: That's a
17       ultra lights or regulars in your survey; is      17      hypothetical, correct?
18       that correct?                                    18             MR. GROSSMAN: Yes.
19    A. Well, what -- I'm trying to remember the         19   A. Okay. So you're asking me to accept that
20       exact numbers, but it is fair to say that        20      any consumer who has access to ads can read
21       the average importance of the partworth for      21      those ads, and you've also asked me to
22       light taste was higher than the partworth        22      accept the fact that every ad has a
23       for regular taste.                               23      statement of tar and nicotine?
24    Q. Which is to say that the average respondent      24   Q. Yes. Knowing that, totally separate from
25       preferred light -- the taste of light            25      the word "light" or other descriptors such

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 1       as "mild" or "ultra light" or anything else,      1              MR. GROSSMAN: Well, we're doing
 2       as we sit here today, it is accurate, is it       2      the best we can.
 3       not, that you have not measured the extent        3              THE WITNESS: Okay.
 4       to which the word "light" on the cigarettes       4              MR. GROSSMAN: It's not my office,
 5       in question was a driver in the choice of         5      but Paul Nemser, who is here, has made the
 6       individuals' brands in buying the cigarettes      6      request, so...
 7       that the 627 respondents in your survey           7              THE WITNESS: Okay. I appreciate
 8       smoked?                                           8      that, because it really was getting pretty
 9               MR. GALLAGHER: Objection to the           9      hot in here.
10       form.                                            10              MR. GROSSMAN: I understand.
11    A. It's kind of a complicated question. You've      11              THE WITNESS: And I see the court
12       asked me to accept two statements as             12      reporter saying yes.
13       hypothetical, you've asked me to accept that     13              MR. GROSSMAN: That's why I've got
14       all ads contain tar and nicotine, and you've     14      all this ice in my water.
15       also asked me to accept that all consumers       15      BY MR. GROSSMAN:
16       would have access to these ads, okay? And        16   Q. Dr. Hauser, continuing, I was asking you
17       after that what we do know is that their         17      earlier about representativeness of the
18       perceptions of health risk and their             18      population being surveyed. The population
19       perceptions of taste do affect their             19      that buys any particular product may not be
20       decisions.                                       20      representative of the population as a whole;
21            Now, I don't know and I have not done       21      is that correct?
22       a survey to determine the impact of the word     22   A. Well, the target of -- the survey should
23       "light," specific -- taken totally as            23      target a population. And we want a
24       separately what that has on health risk.         24      representative set of the target population.
25       That's other facts in the case that I am not     25      So the survey targeted light smokers, so we

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 1       providing an expert opinion on, so I am not       1      began with an overall represent -- sample of
 2       providing an expert opinion as to whether or      2      the total population, and our target
 3       not light is the driver of health risk or         3      population was that subset which smoked
 4       taste; however, I do know that once               4      light cigarettes.
 5       consumers have perceptions of health risks        5   Q. It would be fair to say, would it not, that
 6       and taste, health risks and taste are             6      your target population had a number of
 7       drivers of their decision, and furthermore        7      attributes: One was they were light
 8       that health risks are a driver of the             8      smokers, correct?
 9       decision of the vast majority of consumers.       9   A. Well, the target population were people who
10              MR. GROSSMAN: Okay. We can take           10      were light smokers, yes.
11       the break that you wanted.                       11   Q. In fact, the population surveyed were light
12              THE VIDEOGRAPHER: The time is             12      smokers who were Internet users who had
13       3:48. This is the end of Tape 4, and we are      13      volunteered to engage in surveys with
14       off the record.                                  14      Greenfield Online; is that correct?
15           (Recess taken.)                              15   A. Well, the following is the case: Greenfield
16              THE VIDEOGRAPHER: The time is 4:02        16      Online recruited people, and it's certainly
17       p.m. This is the beginning of Tape 5, and        17      one of the issues that we've been working
18       we're back on the record.                        18      with over the years to determine whether or
19              THE WITNESS: Okay. Did we manage          19      not an Internet panel is indeed
20       to get the temperature corrected?                20      representative, and I believe they are.
21              MR. GROSSMAN: We have asked for it        21      There's a lot of evidence now that Internet
22       to be corrected.                                 22      panels are representative.
23              THE WITNESS: Corrected, yeah.             23          So it appears that the propensity to
24       Because we might get more transcript time if     24      opt into an Internet panel, which of course
25       we didn't -- if it wasn't so hot in here.        25      means they have some sort of Internet

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 1       access, does not correlate with the               1      marked for identification purposes as
 2       variables of interest in most surveys, and I      2      Exhibit 12, which is a Harvard Business
 3       don't believe that it correlates with the         3      School monograph entitled "Conjoint
 4       variables of interest here.                       4      Analysis: A Manager's Guide." Are you
 5              MR. GROSSMAN: Move to strike as            5      familiar with this?
 6       non-responsive.                                   6   A. Well, I'm familiar with the author. It's
 7    Q. Every respondent in this survey was a light       7      probably been quite a while since I've read
 8       smoker who had Internet access and who            8      this. It's a 1990 article. It's been 16
 9       volunteered to be interviewed in Greenfield       9      years since it's been written -- actually 16
10       Online surveys, correct?                         10      years since the copyright. I don't know
11              MR. GALLAGHER: Objection, asked           11      when Dr. Dolan had written it. And a lot
12       and answered.                                    12      has changed since then, but I'll be happy to
13    A. I targeted light smokers, and I used a           13      comment on specific aspects on Dr. Dolan's
14       Greenfield Online Internet panel to              14      article.
15       obtain -- to target them.                        15   Q. Okay. Good. Could you look with me on Page
16    Q. Have you compared Greenfield Online's method     16      4?
17       of obtaining respondents with methods of         17              MR. GALLAGHER: Should he have time
18       other Internet survey companies in obtaining     18      to read the document?
19       respondents?                                     19              MR. GROSSMAN: Well, he says he's
20    A. That's -- I'm actually one of the experts        20      familiar, but it's been a long time. I'm
21       now who's been asked to -- is some of this       21      going to go into specifics.
22       possible, and so we've been trying to do it      22   A. I said it's been a long time since I've read
23       to the greatest of our ability. And there        23      this. It's different from saying I'm
24       are -- the details of these panels vary.         24      familiar with it. If I need to read the
25       There are other panels out there, but it         25      entire document, I'll do so. But if I can

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 1       appears that Greenfield Online is one of the      1      answer something in context and the context
 2       panels who does -- takes care in terms of         2      is clear, I'll certainly make that attempt
 3       maintaining this panel, and to the best of        3      as well.
 4       my understanding, they indeed are an opt-in       4   Q. Do you see Figure A on Page 4?
 5       panel.                                            5   A. I see Figure A, yes.
 6    Q. They are an opt-in panel?                         6   Q. Do you see it says "Decision Stages in
 7    A. Opt-in panel. And opt-in panels seem to be        7      Conjoint Study"?
 8       a very viable, representative, valid and          8   A. Yes.
 9       reliable way of obtaining data on consumers.      9   Q. And Decision 1 is -- or Stage 1 is to
10              MR. GROSSMAN: Move to strike the          10      "Determine the relevant attributes"?
11       last part of the answer as non-responsive.       11   A. Yes.
12    Q. Doctor --                                        12   Q. Now, in this case you chose four attributes
13              MR. GROSSMAN: (To Mr. Koethe.)            13      for your conjoint study, correct?
14       Let's get out the Harvard conjoint manager's     14   A. Yes.
15       guide.                                           15   Q. Do you agree that the first stage and a
16              THE VIDEOGRAPHER: Mr. Grossman,           16      critical stage of developing a conjoint
17       can I ask you to put your microphone on?         17      study is to determine the relevant
18              MR. GROSSMAN: Oh, I'm sorry.              18      attributes?
19           Can we mark this as 12? Is that what         19   A. Well, I think that -- I mean, at this point
20       we're up to?                                     20      we're going to have to read exactly what Dr.
21              (Exhibit No. 12, Harvard Business         21      Dolan means when he says, "Determine the
22       School monograph entitled "Conjoint              22      relevant attributes." What we did in this
23       Analysis: A Manager's Guide," marked for         23      survey that I'm quite happy with as to
24       identification.)                                 24      relevance, that the attributes that were
25    Q. Right. Dr. Hauser, I hand you what's been        25      chosen were attributes that a priority

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 1       Brunswick lens model that we were talking         1   A. Well --
 2       about earlier in this deposition. So I, in        2                MR. GALLAGHER: Objection to the
 3       fact, have included people's perceptions of       3      form.
 4       both taste and of health.                         4   A. -- that's not quite true. We are asking the
 5    Q. You've included people's images of                5      consumer to focus on their brand of
 6       perceptions of taste -- and we'll go over         6      cigarettes, so each consumer is focused on
 7       these -- as well as pack type and price.          7      the particular brand of cigarettes that
 8       Let me put it this way: Do you know whether       8      they're interested in. And there's a lot of
 9       any major brand of cigarette in the United        9      description which we can read into the
10       States is marketed without a choice of both      10      record, which as we've indicated before has
11       box and soft pack?                               11      been carefully pretested.
12    A. Sitting here today, I do not know if there's     12                MR. GROSSMAN: Move to strike as
13       any major brand in all its variants that is      13      non-responsive.
14       modeled without a choice of hard pack and        14   Q. Doctor, there is no question on this survey
15       soft pack.                                       15      that asks respondents to compare the taste
16    Q. Do you know if there's any difference in the     16      of, say, a Marlboro Light to, say, the taste
17       price of premium brands of cigarettes in the     17      of a Camel Light; is that correct?
18       United States?                                   18                MR. GALLAGHER: Objection to the
19              MR. GALLAGHER: Objection to the           19      form, asked and answered.
20       form.                                            20   A. Well, I believe that I've answered that time
21    A. I have not done a systematic study of the        21      and again. And if you keep want to asking
22       price equilibrium in the marketplace, and        22      it, I'll give you the same answer again.
23       I'm not providing any opinions, any expert       23      The survey is focused on the person's brand
24       opinions with respect to the price               24      of light cigarette. They are not asked to
25       equilibrium in the marketplace.                  25      compare ultra -- we're not doing a

                                               Page 251                                                 Page 253
 1    Q. In your study you had five categories of          1      comparison of their perceptions of different
 2       taste -- or I'm sorry, you had three              2      brands of cigarettes.
 3       categories of taste, tastes like an ultra         3   Q. What number was --
 4       light, tastes like a light, tastes like a         4          (Discussion off the record.)
 5       regular; is that correct?                         5   Q. Doctor, could you look with me at Exhibit
 6    A. I believe that was correct. It's -- I could       6      No. 4.
 7       either accept that that -- it's getting late      7   A. Okay. Yeah, Exhibit No. 4.
 8       in the day. I'm getting tired. I'll look          8   Q. Let me represent to you that this represents
 9       at this to be sure, but I believe that was        9      the market share of different brands of
10       correct.                                         10      cigarettes in the United States in 2002, all
11    Q. Be my guest.                                     11      right? For purposes of this series of
12    A. And I'll do this because you're probably         12      questions, you'll accept that?
13       going to ask me about all the other              13   A. What -- this actually matters. What do you
14       attributes, so I'll --                           14      mean by "market share"?
15    Q. There's only one other attribute.                15   Q. Percent of the number of cigarettes sold in
16    A. There's four attributes total.                   16      the United States.
17    Q. Yes. Well, we went through box and price,        17   A. Okay. So this is market share by volume --
18       and now we're going through taste, and the       18   Q. By volume of --
19       remaining one is health.                         19   A. That's by volume of cigarettes, and it's not
20    A. Okay. There are three levels of taste,           20      by volume of packs?
21       tastes like a regular cigarette, tastes like     21   Q. That's right. Well, all packs contain 20
22       your brand of light cigarettes, tastes like      22      cigarettes --
23       an ultra light cigarette.                        23   A. Okay.
24    Q. Okay. There's no distinction made by brand       24   Q. -- so the two are synonymous.
25       on taste; is that correct?                       25          Doctor, looking at this with me, you

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 1       see of the brands that are listed which are        1      Marlboro Medium Light 85 box.
 2       the top 50 brands there are following              2              MR. GALLAGHER: What about Marlboro
 3       lights, Marlboro Lights with an 11 point --        3      Lights Light 85 SP?
 4    A. Can I circle these, too, like you're doing?        4              MR. GROSSMAN: We do want that.
 5    Q. Sure, if you want.                                 5              MR. GALLAGHER: You do want that?
 6    A. Can I have a pen or something to do it?            6              MR. GROSSMAN: Yeah.
 7    Q. There's the highlighter that I was using.          7              MR. GALLAGHER: So you want me to
 8    A. Okay.                                              8      highlight that for Dr. Hauser?
 9    Q. I happen to have several with me. Part of          9              MR. GROSSMAN: Yeah, please.
10       my occupation.                                    10              MR. GALLAGHER: Okay.
11    A. Okay. Now what do you want me to do?              11      BY MR. GROSSMAN:
12    Q. Let's highlight, if you like, the lights          12   Q. Doctor, you've been handed what's been
13       listed among these top 50 brands.                 13      marked for identification purposes which is
14    A. Okay.                                             14      now highlighted --
15    Q. Marlboro Lights, 85 box, 11.51 percent            15   A. Wait a minute. This one says Exhibit 4.
16       share. Do you see that?                           16   Q. Oh, I'm sorry, Exhibit 4, you're correct.
17    A. Okay. I've highlighted it.                        17           -- which has now been highlighted to
18    Q. And third down, Marlboro Lights 100               18      list those of the top 50 brands and styles
19       millimeter box --                                 19      in 2002 that were light cigarettes,
20    A. Okay. I've highlighted it.                        20      designated as light cigarettes. Do you see
21               THE REPORTER: I'm sorry, I didn't         21      that?
22       catch the end of yours.                           22   A. Yes, I do. And by the way, does this add up
23    Q. 3.07 share. A few below that, Marlboro            23      to 100 percent?
24       Lights 85 soft pack, do you see that?             24   Q. No, it doesn't, because it's only the top 50
25    A. We skipped over Camel regular --                  25      brands.

                                                Page 255                                                Page 257
 1    Q. We're skipping over all the regulars.              1   A. Okay. And what does that add up to?
 2    A. What does this mean, "regular light LT"?           2   Q. I don't know. But there are hundreds of
 3    Q. Oh, I'm sorry, it means the -- you're right.       3      brands and styles in the United States.
 4       In this context it means it's the Camel            4      Reynolds alone, I know, since the merger now
 5       that's not the special blend or the Turkish        5      has about three or four hundred brands and
 6       blend. That's what the use of the term             6      styles, but most of them have infinitesimal
 7       "regular" in that context is.                      7      shares. The market is dominated by just a
 8           The Camel Light 85 box, 2.03, correct?         8      few cigarettes.
 9    A. So LT means light?                                 9          As you can see, the most popular
10    Q. Yes.                                              10      single brand, according to this, and style,
11    A. Okay.                                             11      is Marlboro Lights 85 box. Do you see that?
12    Q. Marlboro Blue Ultra Light, don't do that.         12   A. Yes, I do.
13       That's an ultra light.                            13   Q. With an 11 1/2 percent share of the market.
14    A. What?                                             14      Do you see that?
15    Q. I --                                              15   A. Yes, I do.
16    A. Well, why don't you do it and give it to me.      16   Q. And you see about half of all the cigarettes
17    Q. I'll be happy to.                                 17      among the top 50 in the United States, just
18           (Pause.)                                      18      under half, are highlighted as light
19    Q. Doctor, I've handed you the highlighted           19      cigarettes?
20       copy.                                             20   A. It seems to be the order of magnitude of a
21              MR. GALLAGHER: You don't want              21      half. We haven't counted them.
22       highlighted Marlboro Lights Light 85 SP soft      22   Q. Yeah. Now, the 50th most popular style is
23       pack?                                             23      Winston Light 100. Do you see that?
24              MR. GROSSMAN: No, I don't want             24   A. Okay. And what does the "SP" mean?
25       those -- the one that I didn't do is the          25   Q. I believe it means soft pack.

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 1    A. Okay.                                            1      this list; is that correct?
 2    Q. Doctor, what accounts for the difference,        2   A. I don't see something that -- anything,
 3       the huge difference in market penetration of     3      excuse me, that says Benson & Hedges on this
 4       these different brands?                          4      list.
 5               MR. GALLAGHER: Hold on. I just           5   Q. So what accounts for the vast differences in
 6       saw another one. Second to last one, do you      6      market share of these different brands that
 7       want Marlboro Medium Light?                      7      are called light?
 8               MR. GROSSMAN: No.                        8              MR. GALLAGHER: Objection to the
 9               MR. GALLAGHER: No?                       9      form. It's beyond the expert opinion he's
10               MR. GROSSMAN: No, because it's          10      rendering.
11       called Marlboro Medium, it's not called         11   A. I haven't done a study of brand differences,
12       light. It's a low tar.                          12      and I've so testified it's not part of my
13    A. Oh, LT stands for low tar, okay.                13      expert opinion.
14    Q. Yeah.                                           14   Q. Okay. Your conjoint analysis did not
15    A. Oh, some of these --                            15      capture the reasons why some brands are so
16               MR. GALLAGHER: Hold on. In              16      much more popular among light cigarettes
17       Marlboro Medium LT 100 box, LT means low        17      than others; is that correct?
18       tar?                                            18   A. My conjoint analysis, each person is
19               MR. GROSSMAN: It is a low tar, but      19      conditioned upon having made that choice
20       it is not marketed as a light, it's marketed    20      already, so someone answering my question, I
21       as a medium. That particular cigarette is       21      know what they -- what particular brand they
22       marketed as a medium.                           22      asked. I'm not asking the attributes varied
23    A. So then why is Camel regular low tar            23      by brand other than the four attributes that
24       highlighted?                                    24      I've indicated. So I'm not providing an
25               MR. GALLAGHER: It's gotten a bit        25      expert opinion with respect to brand

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 1       confusing.                                       1      decision.
 2               MR. GROSSMAN: It has gotten              2   Q. Your conjoint analysis measured four factors
 3       confusing.                                       3      that we've gone over. It did not measure or
 4    Q. Leave aside the questions of which ones are      4      attempt to measure the extent to which brand
 5       marked and which ones are not for a moment.      5      entered into the choice of cigarette smokers
 6    A. Okay.                                            6      in deciding which cigarette to smoke; is
 7    Q. Marlboro Lights have a -- in their 85            7      that correct?
 8       millimeter box have an 11 1/2 percent market     8             MR. GALLAGHER: Objection, asked
 9       share of all the cigarettes sold in the          9      and answered.
10       United States, okay?                            10   A. Well, I have answered it, but, again, the
11    A. Yes.                                            11      person who is answering this, they have
12    Q. Winston -- Winston Lights have a much lower     12      already made the brand decision. Now I'm
13       penetration?                                    13      asking them hypothetical questions, conjoint
14    A. Yes.                                            14      profiles within that brand. So I did not do
15    Q. Parliament Lights aren't even in the top 50,    15      a brand study, nor am I providing an expert
16       Parliament Light 100s are not even in the       16      opinion with respect to interbrand
17       top 50; is that correct? They're not listed     17      decisions.
18       in here?                                        18   Q. Doctor, let me hand you what we'll mark as
19    A. I don't see a Parliament here. Well, what's     19      Exhibit 12, I believe -- Exhibit 13, which
20       this (indicating)?                              20      is a compilation of materials that have been
21    Q. Parliament Light 85 is included?                21      provided to us by plaintiffs' counsel --
22    A. Yeah.                                           22             MR. GALLAGHER: I'm sorry, can I
23    Q. Parliament Light 100 is not?                    23      have a copy of that?
24    A. Okay. So Parliament Light 85 is, okay.          24             MR. GROSSMAN: Yes.
25    Q. Benson & Hedges Lights are not included on      25   Q. -- relating to your pretests and to your

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 1       than one person looking at this.                 1   A. We did record the information that was
 2    Q. In fact, only one person looked at the           2      required.
 3       interviews that Ms. Schussheim conducted in      3   Q. I'm asking --
 4       this case; is that correct?                      4   A. What I'm trying to get at here is whether or
 5    A. No.                                              5      not people can respond to the questions, and
 6    Q. Who else looked at them?                         6      there are people involved in determining
 7    A. Ms. -- okay. There are three people who          7      whether or not these people could respond to
 8       were involved in this, Mr. Gaskin, Ms.           8      the questions, Mr. Gaskin, Ms. Schussheim
 9       Schussheim and myself, and I was fully           9      and myself.
10       briefed on this, and furthermore, the           10   Q. Doctor, as we sit here today, can you recall
11       particular paper we're talking about now is     11      any of the attributes -- I'll rephrase the
12       the qualitative interviews to identify what     12      question.
13       consumers' needs were. It's a very specific     13          As we sit here today, can you recall
14       technical definition of what consumer needs     14      whether the seven people interviewed by Ms.
15       are. This is -- now, qualitative interviews     15      Schussheim believed light cigarettes to be
16       determine the wording for a questionnaire.      16      more dangerous, equally dangerous or less
17       So two different purposes.                      17      dangerous than full-flavored filter
18              MR. GALLAGHER: When you say              18      cigarettes?
19       "this," we have to say --                       19             MR. GALLAGHER: Objection to the
20              THE WITNESS: Okay.                       20      form.
21              MR. GALLAGHER: -- what you're            21   A. That was not the purpose of the qualitative
22       referring to.                                   22      interviews. The purpose of the qualitative
23    A. Let's be very specific. We're now talking       23      interviews were to determine whether or not
24       about two different things. The one article     24      they could answer the questions that we were
25       is "The Voice of the Customer" article,         25      asking. And Ms. Schussheim briefed me on

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 1       which is a study of the ability to identify      1      these, and at the end of the qualitative
 2       customer needs. The other is the                 2      interviews, coupled with the information
 3       qualitative interviews done in the study         3      also obtained from Mr. Gaskin, we were able
 4       upon which I'm providing an expert opinion.      4      to write a questionnaire that could obtain
 5       Here the qualitative interviews were to          5      that information. And as is appropriate, we
 6       provide background, but more importantly the     6      did not record the actual answers from the
 7       specific use of these qualitative interviews     7      pretest interviews because we did not use
 8       were to identify that consumers could            8      those in analysis, again, as is recommended
 9       respond to the questions that we were            9      not only by scientific and academic press,
10       developing and to put the questions into        10      but by the federal court rules.
11       words and phrases that consumers were using.    11             MR. GROSSMAN: What? Could you
12    Q. Doctor, Ms. Schussheim is the only person --    12      read that back, please.
13       let me go back over this. You've already        13          (Record read.)
14       told us that Ms. Schussheim did not take        14   Q. Are you --
15       notes of her interviews and that no             15   A. Well, rules is the right -- the wrong -- I
16       recording was made of the interviews. Can       16      mean, let me clarify this. When I say
17       you tell us the brands of the seven people      17      "rules," it sounds like I'm making a legal
18       who she interviewed?                            18      opinion. I'm not making a legal opinion.
19    A. I've already testified that we did not          19   Q. Are you suggesting that the rules of any
20       record any of those demographic variables.      20      court that you've ever appeared before
21       I mean, you can ask me, do I know whether or    21      required you not to keep a record or to
22       not these people drove particular brands of     22      destroy evidence of interviews that you
23       cars. We didn't record that information,        23      conduct?
24       either.                                         24             MR. GALLAGHER: Objection to the
25    Q. I'm not asking you irrelevant --                25      form.

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 1       analysis and to develop a questionnaire that     1   A. Yes.
 2       uses words and phrases that consumers use to     2   Q. Next paragraph, "If he had to switch, he'd
 3       describe the features of cigarettes."            3      smoke another 100."
 4            Do you see that?                            4          Do you see that?
 5    A. Yes.                                             5   A. Yes.
 6    Q. So before you -- these interviews were           6   Q. Did you consider length of cigarettes as one
 7       conducted on March 9, 2005, the four factors     7      of the factors to be tested?
 8       to be considered in your conjoint analysis       8   A. Length is one of the cigarettes (sic) we
 9       had not been firmly identified; is that          9      could have involved, but fortunately because
10       correct?                                        10      of the properties of the Gumbel
11    A. Well, okay. Again, the process of --            11      distribution, as long as it was not --
12       there's features we're going to explore, and    12      basically as long as it satisfied the
13       it's of course an iterative process, but the    13      appropriate statistical properties, it would
14       final decision is made after the qualitative    14      not bias any of the other coefficients. So
15       interviews. And certainly, as is                15      we're making some trade-offs among focus on
16       appropriate to the scientific method, we        16      particular attributes, in this case health,
17       have some hypotheses going in there that can    17      price and taste, as well as we put in pack
18       be updated and modified after listening to      18      size.
19       customers.                                      19   Q. You can't do the calculation of the Gumbel
20    Q. Part of the purpose of the in-depth             20      distribution until after the survey is
21       interviews conducted on March 9 was to          21      conducted; is that correct?
22       determine the factors to be included in the     22   A. No, but we can establish qualitatively
23       Web-based questionnaire that ultimately was     23      whether or not there's going to be
24       used to support your opinion in this case,      24      interactions by talking to the consumers.
25       correct?                                        25   Q. You didn't -- at the time when you decided

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 1    A. System of the qualitative inter -- the           1      the four factors that were going to be
 2       qualitative interviews, combined with other      2      studied you hadn't run the Gumbel
 3       information, ultimately helped us develop        3      distribution; is that correct?
 4       the questionnaire in words and phrases that      4             MR. GALLAGHER: Objection to the
 5       consumers could use. Certainly there were        5      form.
 6       some issues going in that we wanted to           6   A. You know, at this point run the Gumbel
 7       find -- that we had hypotheses that would be     7      distribution, in fact, we ran the
 8       features that were relevant.                     8      estimation. There are properties of the
 9    Q. Doctor, if you could turn with me on Exhibit     9      Gumbel distribution. I certainly knew the
10       13 to --                                        10      properties of this Gumbel distribution,
11    A. Which one is Exhibit 13?                        11      which is well established in the literature
12    Q. It's the interview set that you should have     12      that this is a way to model if there's going
13       out.                                            13      to be unobserved attributes in there and
14    A. Okay.                                           14      that those unobserved attributes are not
15    Q. -- to the notes that Mr. Gaskin took of the     15      going to bias the coefficients of the
16       seven interviews that he conducted on March     16      attributes that are in that.
17       9, 2005. The first is of a man named Bert.      17   Q. Did you consider whether length of
18    A. Okay. We have Bert. This is Hauser 041.         18      cigarettes was one of the principal factors
19    Q. Yes, it is. Do you see second paragraph,        19      that smokers consider in making a decision
20       "Smoked Parliaments - and the brand changed     20      on which cigarettes to purchase?
21       to be all lights. He smoked the 100s. No        21             MR. GALLAGHER: Objection to the
22       taste difference, no difference in smoking.     22      form.
23       He didn't even notice at first. He was okay     23   A. Length of cigarettes is one of the many
24       with that."                                     24      other attributes we could have put in there.
25           Do you see that?                            25      I do not believe putting that attribute in

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 1       would have biased the coefficients one way        1      and a half of notes and you're reading one
 2       or the other. Certainly, you know, one            2      question, but go ahead and answer if you
 3       might put all sorts of attributes in here.        3      can, Doctor.
 4       For this person it mattered, for other            4   A. Certainly this statement would be
 5       people it won't, but it's not going to bias       5      consistent, but it may not be. It also
 6       the coefficients that are in that                 6      could be conditionally lexicographic
 7       estimation.                                       7      conditioned upon having chosen a 100. He
 8    Q. Did you consider whether to include it in         8      could then be making compensatory trade-offs
 9       the factors to be studied?                        9      among the attributes that we did measure and
10               MR. GALLAGHER: Objection, asked          10      the coefficients we obtained for the
11       and answered.                                    11      relative trade-offs -- remember, conjoint is
12    A. I did not feel that it was necessary to put      12      always dealing with relatives, and we're
13       the length of the cigarettes in there.           13      estimating those relatives conditioned upon
14       There were a lot of attributes that we could     14      the other attributes.
15       have put in that we decided not to put into      15          And so just as the same answer to
16       this --                                          16      brand, as long as I have unbiased
17    Q. Have you --                                      17      coefficients among those attributes, my
18    A. -- and it's not going to bias the estimates.     18      survey is going to be accurate with respect
19    Q. Have you reviewed any studies conducted by       19      to those coefficients, or the estimation
20       cigarette manufacturers or anyone else on        20      will be accurate with respect to those
21       the importance of length of cigarettes in        21      coefficients.
22       consumers' decisions of which cigarettes to      22             MR. GROSSMAN: Move to strike as
23       buy?                                             23      non-responsive.
24    A. I have not reviewed any studies with respect     24   Q. Doctor, looking above the empty line,
25       to importance of the length of the               25      there's one line that -- about 80 percent

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 1       cigarettes, but just as we've indicated           1      down the page -- it's empty above that --
 2       before, people are asked to focus on their        2      there's a paragraph that is "Lite healthier,
 3       particular brand and then make a partial          3      they say that but he doesn't think it works.
 4       decision with respect to all the attributes       4      The burning tobacco is going to be there
 5       that we did specify. As long as these are         5      either way." Do you see that? "Each way,"
 6       separable utility functions, it's perfectly       6      do you see that?
 7       acceptable and it's going to give us              7   A. Yes.
 8       unbiased estimates.                               8   Q. As reported to you, this first respondent
 9              MR. GROSSMAN: Move to strike as            9      did not believe that light cigarettes were
10       non-responsive.                                  10      healthier than non-light cigarettes; is that
11    Q. On the line "If he had to switch, he'd smoke     11      correct?
12       another 100," this respondent, Bert --           12             MR. GALLAGHER: Objection to the
13    A. Well, let's complete the line. "Would look       13      form.
14       around."                                         14   A. Well, because we're -- what we have here are
15    Q. "Would look around," yes. "If he had to          15      Mr. Gaskin's notes, "Lite healthier," you
16       switch, he would smoke another 100 - would       16      know, he reported on these, but, you know, I
17       look around."                                    17      don't recall all the details. This is his
18           With respect to this respondent, Bert,       18      question to them, or is that the
19       it appears that he could be lexicographic        19      respondent's answer? It might have been
20       with regard to 100 length cigarettes; is         20      that Mr. Gaskin asked this question to the
21       that correct?                                    21      respondent and then he said that the
22              MR. GALLAGHER: Again, I'll object         22      respondent responded they say that, but he
23       to the form given the fact that this is          23      doesn't think it works.
24       being taken out of context in the two-           24          And so that means in the existing
25       page -- what appears to be at least a page       25      marketplace this particular respondent

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 1       probably doesn't think that light cigarettes        1      thinks they're half as bad but deep down he
 2       are any less unhealthy than regular                 2      knows there's no difference. It's all a
 3       cigarettes.                                         3      mind thing. It's just a label. It's all
 4    Q. Less healthy, correct?                              4      marketing."
 5    A. Light cigarettes are --                             5           Do you see that?
 6    Q. He doesn't believe that they're any -- he           6   A. Yeah, it's kind of interesting. Here's a
 7       doesn't believe that they're any                    7      John who's 57, who was cut open four years
 8       healthier --                                        8      ago with aorta blocked from smoking and
 9    A. Right.                                              9      couldn't walk, and stopped in the hospital
10    Q. -- with regard to regular cigarettes?              10      with just one puff. So here's a person who,
11               MR. GALLAGHER: Hold on.                    11      at least by his own statement, as recorded
12       Objection. Now you're changing it around.          12      by Mr. Gaskin, believes that smoking has
13       You're putting words in his mouth.                 13      been quite unhealthy for him, and --
14               MR. GROSSMAN: No, I'm asking.              14              MR. GROSSMAN: Move to strike as
15               MR. GALLAGHER: No. He said "less           15      non-responsive.
16       unhealthy," and you turned it around and           16              MR. GALLAGHER: Hold on. He's not
17       said "healthier." I don't think anybody in         17      done. Go ahead.
18       this room is going to say cigarettes are           18   A. -- and still said that. Now, if we get down
19       healthy, whether it's a lawyer or --               19      here, you know, it's kind of interesting
20               MR. GROSSMAN: No, he doesn't               20      that, you know, he sort of knows in his --
21       believe that light cigarettes are any              21      it's a very interesting interview.
22       healthier than regular cigarettes.                 22   Q. He knows in his heart what?
23               MR. GALLAGHER: Same objection.             23   A. Okay.
24       It's turning it around. That's not what he         24              MR. GALLAGHER: Hold on.
25       said. If you want --                               25   A. What's --

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 1              MR. GROSSMAN: Okay. I understand.            1             MR. GALLAGHER: I'm going to the
 2              MR. GALLAGHER: -- the answer read            2      object to the form that we're taking certain
 3       back -- you know where we're going --               3      snippets out of context of the entire thing,
 4              MR. GROSSMAN: I understand.                  4      and you're not letting Dr. Hauser --
 5              MR. GALLAGHER: -- with this so               5             MR. GROSSMAN: No, I'm asking --
 6       let's not try it.                                   6             MR. GALLAGHER: -- give you a more
 7              MR. GROSSMAN: I don't mean to                7      comprehensive suggestion of what the total
 8       suggest that cigarettes are healthy.                8      interview says. Go ahead, Doctor.
 9       BY MR. GROSSMAN:                                    9             THE WITNESS: Okay.
10    Q. This respondent does not believe that light        10   A. You know, he thinks they're half as bad, but
11       cigarettes contain any lower health risks          11      deep down he knows there's no difference,
12       than regular, what you refer to as regular         12      okay. So it's kind of an interesting
13       cigarettes; is that correct?                       13      statement that he sort of believes that,
14              MR. GALLAGHER: Objection to the             14      well, maybe lights aren't quite as bad, but
15       form.                                              15      deep down he kind of knows that they're no
16    A. Okay. This respondent believes that light          16      different. And, you know, this is the
17       cigarettes are no less unhealthy than              17      ambivalence that he's showing here in terms
18       regular cigarettes, and there are many             18      of health risk.
19       people in our survey that have that belief.        19   Q. All right. Now, Doctor, farther down in his
20    Q. Next respondent, John, on the following            20      interview notes it says, "Price choice, same
21       page, Hauser 042, and continuing into 043,         21      price. He likes what he has now, he's used
22       John has varying statements here on the            22      to it. The part on health is just part of
23       health effects of light cigarettes; is that        23      addiction denial. There's a lot of
24       not correct? It says, "Not hurting himself         24      psychology here."
25       so bad. Denial." And on the next page, "He         25          Do you see that?

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 1              THE WITNESS: I see that.                   1      regulars had the same degree of risk, he
 2              MR. GALLAGHER: All right.                  2      would prefer lights; is that correct?
 3       BY MR. GROSSMAN:                                  3   A. Well, ceretis paribus means all else equal,
 4    Q. And with regard to that, Dr. Hauser, that         4      so I agree with the statement as Mr. Gaskin
 5       paragraph is "So low tar and nicotine -           5      recorded here that this person, as many of
 6       probably doesn't do a whole lot. There's no       6      our respondents did, actually likes the
 7       such thing as a safe cigarette. Lites are         7      taste of lights. However, it doesn't mean
 8       75 to 80 percent as dangerous."                   8      that they would not make a trade-off if
 9           Is that correct?                              9      they could get a light cigarette that was
10    A. 047 here? Oh, yeah, okay. "Low tar               10      basically less healthy (sic). So if they
11       and nicotine probably doesn't do a whole         11      had a choice -- it does not say they could
12       lot. There's no such thing as a safe             12      not make a choice between a light cigarette
13       cigarette. Lites are 75 to 85 percent as         13      that had the health risk of regular
14       dangerous."                                      14      cigarettes and a light cigarette that had
15    Q. And he further says, does he not, that he        15      the health risk of what should be perceived
16       doesn't believe advertisers and doesn't          16      as a light cigarette, less health risk.
17       believe the cigarette companies? Indeed, as      17          So people can make that distinction,
18       we quoted earlier, he says, "It's ludicrous      18      and, you know, in this case he thinks that
19       for a cigarette manufacturer to make any         19      lights are less healthy (sic) than regulars,
20       sort of health benefits claim."                  20      and he likes the taste. So there are two
21    A. Well, what this person appears to be saying      21      reasons to smoke health -- to choose light
22       is he thinks cigarettes are dangerous and        22      cigarettes.
23       unhealthy, and as I've indicated, our goal       23   Q. But if lights and regulars were identical in
24       was to design questions that people could        24      health risk, he would prefer the lights?
25       answer, and the vast majority of our             25             MR. GALLAGHER: Objection to the

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 1       people -- the people who responded do think       1      form.
 2       that cigarettes are unhealthy.                    2   Q. That's what he said, correct?
 3    Q. Next person, Heinz.                               3   A. What he has said is that, yeah, he said that
 4    A. I would like to point out I do have to leave      4      health risk affects his choice. He's also
 5       in five minutes.                                  5      said that taste affects his choice, and he
 6    Q. You've pointed that out earlier. We're            6      says that he prefers the taste of light
 7       moving as fast as we can.                         7      cigarettes to the taste of regular
 8              MR. GALLAGHER: We'll end at 6:00,          8      cigarettes. That's perfectly consistent
 9       Doctor.                                           9      with the results in the survey.
10    Q. Heinz indicated at the bottom of the page        10   Q. Let's go to the next person, Jennifer. And
11       that he thinks that "Danger level of about       11      at the very bottom -- since you have a
12       75 percent of regular."                          12      couple of minutes, at the very bottom of her
13            Do you see that?                            13      interview notes it says, "Even if lites are
14    A. Yes.                                             14      as unhealthy as regulars, she wants the
15    Q. Starting above that, he said, "If lites          15      lite - taste, feel are better 'lighter'"; is
16       tasted worse, he wouldn't smoke them. It's       16      that correct? Is that a better rendition of
17       bad, so you might as well enjoy it.              17      what Mr. Gaskin took down?
18            "What makes it a lite? He doesn't           18   A. Well, let's read the whole thing.
19       know." Later he says, "Taste - a light           19           (Witness reviews document.)
20       taste, he likes it. So ceteris paribus,          20   A. Well, it says it was easier to inhale lights
21       he'd smoke lites instead of regulars due to      21      when she was starting out.
22       taste. Nicotine is the same."                    22   Q. And that health wasn't a consideration when
23            Do you see that?                            23      she started?
24    A. Yes.                                             24   A. It says that health was not a consideration
25    Q. All things being equal, if lights and            25      when she started. However, she then goes on

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